         Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 1 of 170




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


    DONNA CURLING, ET AL.,
    Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
    v.

    BRAD RAFFENSPERGER, ET AL.,

    Defendants.

                 COALITION PLAINTIFFS’ BRIEF IN SUPPORT OF
                   MOTION FOR PRELIMINARY INJUNCTION

          Coalition Plaintiffs file this Brief in Support of their Motion for Preliminary

Injunction.


I.        INTRODUCTION

          The State Defendants told this Court on April 9, 2019 that they had taken “to

heart”1 the concerns of the Court about the State’s electronic voting system. In the

recommendations to the General Assembly, however, Defendant Secretary of State

insisted on a legislative mandate for another vulnerable unauditable electronic

voting system. The State Defendants have yet again ignored the advice and


1
    April 9, 2019 Hearing Tr. at 5.

                                              1
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 2 of 170




warnings of the foremost voting system and auditing experts in the nation, and are

in the process of deploying another voting system that places unconstitutional

burdens on Georgia voters’ right to vote and have their vote counted. The

Coalition Plaintiffs accordingly have moved for an order directing Defendants to

conduct all elections after January 1, 2020 using hand marked paper ballots as the

primary method of recording the electors’ votes. The remedy sought is eminently

feasible because the State Defendants are already enjoined by this Court’s August

15, 2019 Order to develop a backup plan using hand marked paper ballots in

conjunction with Georgia’s Dominion Voting System.2

       The relief requested by the Coalition Plaintiffs in some respects is

substantially the same as relief sought by the Curling Plaintiffs in their Motion for

Preliminary Injunction, (Doc. 619), but Coalition Plaintiffs seek different and

additional relief in several critical respects. In Part II, the Coalition Plaintiffs will

explain the relief they are seeking and the differences between such relief and the

2
 As used in Coalition Plaintiffs’ Motion papers, the term “Georgia’s Dominion Voting System”
includes each of the components listed in the Secretary’s August 9, 2019 Certification, a copy of
which is attached as Exhibit A, and the KNOWiNK PollPad Plus electronic pollbook, certified
October 11, 2019, see Exhibit B. Dominion ImageCast X Prime (ICX BMD) Ballot Marking
Device, which is part of Georgia’s Dominion Voting System, will sometimes be referred to
specifically as the “Dominion BMD.” The KNOWiNK PollPad Plus electronic pollbook device,
which is a part of Georgia’s Dominion Voting System, will sometimes be referred to specifically
as the “PollPad Electronic Pollbook.”

                                               2
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 3 of 170




relief sought by the Curling Plaintiffs. In Part III, Coalition Plaintiffs show that

they continue to have standing and, in Part IV, show that they are entitled to

preliminary injunctive relief.

II.   SUMMARY OF RELIEF SOUGHT BY COALITION PLAINTIFFS

      A.     Hand marked paper ballots instead of BMDs.

      Coalition Plaintiffs join the Curling Plaintiffs in seeking an immediate ban

on the use of electronic ballot marking devices (“BMDs”), and accordingly seek

an order directing “the Defendants to conduct all elections after January 1, 2020

using hand-marked paper ballots as the primary method of recording the electors’

votes.” (Coalition Motion, ¶ 1). The Coalition Plaintiffs’ Motion further provides

that “Defendants shall not be prohibited from using electronic or other appropriate

voting units for persons with disabilities.” (Id.).

      B.     Election Management System and Scanners

      The relief that the Curling Plaintiffs seek would implicitly require the State

Defendants to use components of Georgia’s Dominion Voting System (as defined),

including the Dominion election management system and the Dominion scanners

with hand marked paper ballots beginning January 1, 2020. Because of the

uncertainty as to whether the Dominion election management system and scanners


                                           3
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 4 of 170




can be deployed on time for use with hand marked paper ballots beginning with

January 2020 elections, the relief that the Coalition Plaintiffs seek would give the

State Defendants the flexibility to use the Dominion election management system

and scanners3 or the State’s currently certified Diebold GEMS system and

AccuVote scanners. This flexibility is necessary because, at this juncture, there is

no assurance that the massive conversion and high risk implementation that the

State Defendants are undergoing will be successful, even for the reduced amount

of equipment required for hand marked paper ballot elections.4 Since under

Coalition Plaintiffs’ proposed relief, robust pre-certification audits of results of

hand marked paper ballots are required (see Coalition Motion, ¶ 4), using the

already installed and operational Diebold GEMS system and AccuVote scanners is

an acceptable, constitutional alternative.5


3
 Under Coalition Plaintiffs’ requested relief, Dominion’s equipment, including its scanners, may
not be used if they violate ballot secrecy, discussed below.
4
  As the Court noted in its August 15, 2019 Order, there is “reason to doubt” that “the BMD
system will be rolled out in time for the federal Presidential Primary in 2020.” (Doc. 579 at
142). The Court added: “the Court has concerns about the State’s ability to procure, test, and
install the equipment for all 159 counties, implement an entirely new elections management,
ballot building, and voter registration system, and perform the necessary training of local
election officials in the schedule set by the State.” (Doc. 579 at 145).
5
 This is the same system that Coalition Plaintiffs have been urging the State Defendants to
deploy as a transition system since 2017. See Doc. 258-1 at 93, 98 n.3.

                                                4
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 5 of 170




      Further, as described in Curling’s Brief (Doc.619-1 pages 5 -11), the entire

Dominion Voting System (Exhibit A) has serious unmitigated vulnerabilities, and

has undergone little field testing or debugging in Georgia. Providing an option to

use and thoroughly audit the presently installed Diebold GEMS/AccuVote scanner

system greatly reduces risks of implementation failures, election day chaos, and

unauditable elections.

      A possible unintended consequence of this Court’s August 15, 2019 Order

(Doc. 579) is that, by prohibiting the continued use of the components of GEMS

election management system and AccuVote scanners, the injunction may have the

practical effect of forcing the State to accept and deploy Georgia’s Dominion

Voting System, regardless of its flaws, its actual readiness, or the officials’ ability

to manage the largest voting system conversion ever attempted in the country.

Coalition Plaintiffs’ motion accordingly seeks a modification of this Court’s

August 15, 2019 Order (Doc. 579) “to permit the use of AccuVote optical scanners

and the Diebold GEMS election management system where hand marked paper

ballots are used as the primary method of voting.” (Coalition Motion, ¶ 2).




                                           5
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 6 of 170




      C.     Audit Plan.

      Coalition Plaintiffs also join the Curling Plaintiffs in seeking an order

requiring the State Defendants to develop an audit plan “based on well-accepted

audit principles that assure a high probability that incorrect outcomes will be

detected and remedied.”     (Coalition Motion, ¶ 5). Coalition Plaintiffs’ Motion

also anticipates that the State Defendants will file an audit plan (“the Proposed

Audit Plan”) after the Court’s entry of an order granting injunctive relief. (Id.).

      Coalition Plaintiffs’ proposed relief contains additional substantive terms

and procedural steps relating to the Proposed Audit Plan focused on the

workability and effectiveness of the post-election audits. On the substance of the

Proposed Audit Plan, Coalition Plaintiffs would require that the Proposed Audit

Plan address the remediation of discrepancies detected in the audit process.

Remediation is not addressed in the Georgia statute that is the reference point of

Curling’s Motion, O.C.G.A. §21-2-498. Coalition Plaintiffs’ Motion accordingly

provides that the Proposed Audit Plan “include instructions to the county election

superintendents to address errors or irregularities detected in the post-election

audit, including instructions on escalating the audit, further investigation of errors,

and the method of correcting error.” (Coalition Motion, ¶ 5). Coalition Plaintiffs


                                           6
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 7 of 170




also make explicit the requirement (implied in the Curling Plaintiffs’ motion) that

audits begin on all elections after January 1, 2020. (Coalition Motion, ¶ 4).

      As to the post-injunction procedure for approving the Proposed Audit Plan,

the State Defendants should file the Proposed Audit Plan within 14 days (not 21),

since such a plan should currently be in development, permit the Plaintiffs to

respond to the Proposed Audit Plan, and that the Court, after a hearing if necessary,

“determine the adequacy of the Proposed Audit Plan.” (Coalition Motion, ¶ 6).

      D.     Ballot Secrecy

      In their Brief, the Curling Plaintiffs correctly note that “Dominion’s election

management system” permits “the secrecy of the ballot box to be compromised.”

(Doc. 619-1 at 11, 12). The Curling Plaintiffs do not, however, seek any relief

relating to ballot secrecy — the banning of the Dominion BMDs does not address

the currently known violations of ballot secrecy because the electronic records that

compromise ballot secrecy reside elsewhere in Georgia’s Dominion Voting

System, -- Dominion’s scanners. The Coalition Plaintiffs accordingly seek an

order directing Defendants “to take all necessary action to ensure that there is no

information recorded on any electronic record . . . that, alone or in combination




                                          7
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 8 of 170




with other records or information, may be used to identify the individual who cast

a particular ballot.” (Coalition Motion, ¶ 7).

      Coalition Plaintiffs also seek to require the Secretary to file, within 21 days

of the entry of this Court’s Order, a report (“the Ballot Secrecy Report”) describing

the actions taken to comply with this provision, to permit Plaintiffs to respond, and

for the Court, after a hearing if necessary, to determine whether further relief is

merited.” (Coalition Motion, ¶ 8).

      E.     Paper Copies of Pollbooks

      The Curling Plaintiffs do not seek relief relating to electronic pollbooks.

The Coalition Plaintiffs seek an order that would require paper copies of pollbooks,

updated after early voting, to be placed in every polling location, and to use the

paper back-up of the pollbook “to adjudicate voter eligibility and precinct

assignment problems.” (Coalition Motion, ¶ 9).

      F.     Epollbook Review, Report and Remediation

      Georgia’s Dominion Voting System will use the “KNOWink PollPad Plus

electronic pollbook” (the “PollPad Electronic Pollbook”). Use of the PollPad

Electronic Pollbook carries with it serious existing threats and brings new risks of

voter disenfranchisement and voting system security. As to existing threats, the


                                           8
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 9 of 170




Coalition Plaintiffs seek to require the Secretary to file, within 21 days of this

Court’s Order, an Electronic Pollbook Report that “addresses actions taken to

date or that will be taken to ensure that past operating problems with the Diebold

ExpressPoll do not recur in the PollPad Electronic Pollbooks.” (Coalition Motion,

¶ 10(a)).

      Defying security protocols and common sense, the new PollPad Electronic

Pollbooks communicate via wi-fi and Bluetooth, introducing a new security threat,

particularly given the State Defendants’ resistance to paper backups of accurate

pollbooks. The Coalition Plaintiffs accordingly seek to require the State

Defendants to include in the PollPad Electronic Pollbook Report a description of

“operational problems of encountered with the PollPad Electronic Pollbooks in the

2019 pilot elections” and “polling place security of the voter registration database

and the pollbook data during early voting and Election Day voting, particularly

focused on wi-fi and Bluetooth connections of voting system components in the

polling place.” (Coalition Motion, ¶ 10(b) and (c)).

      G.     Compliance Hearing

      Both sets of Plaintiffs seek relief requiring the State Defendants to replace

BMDs with the Court-ordered backup plan consisting of hand marked paper


                                           9
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 10 of 170




ballots. Both sets of Plaintiffs also seek relief requiring the State Defendants,

following the Court’s granting of injunctive relief, to file plans that are vital to the

security and integrity of 2020 elections. The Coalition Plaintiffs believe that it

would be prudent to build into the initial injunctive relief procedures for

monitoring and assessing the State Defendants’ compliance with the actual

deployment of the backup plan and to determine whether and to what extent the

State Defendants’ development of audit plans, assessment of ballot secrecy, and

analysis of epollbook issues merits further relief. The Coalition Plaintiffs’ motion

therefore anticipates that the Court, either separately or in conjunction with any

hearing on any of the proposed Plans, hold a hearing, and if necessary, take

evidence, on the State’s compliance with all terms of this Order and determine if

additional relief is merited. (Coalition Motion, ¶ 13(b)).

      The request for an additional hearing to address the State Defendants’

compliance would also allow the parties, and the Court, to focus in the first hearing

upon the question of the constitutionality of BMDs and, in the second hearing,

upon the adequacy of the State’s plans for audits, ballot secrecy, and epollbook

reliability and security. This sequencing would also give the State more time to

implement the injunctive relief granted relating to the BMDs.

                                           10
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 11 of 170




II.   STANDING

      In United States v. Hays, 515 U.S. 737, 742-43 (1995), the Court set forth

the three elements to determine standing:


      First, the plaintiff must have suffered an injury in fact—an invasion of
      a legally protected interest that is (a) concrete and particularized, and
      (b) actual or imminent, not conjectural or hypothetical. Second, there
      must be a causal connection between the injury and the conduct
      complained of . . . . Third, it must be likely, as opposed to merely
      speculative, that the injury will be redressed by a favorable decision.¶

      Coalition Plaintiffs’ First Supplemental Complaint (“FSC”) contains

detailed allegations of each of these elements of standing applied specifically to the

new causes of actions. FSC, Doc. 601 at ¶ 202-208 (addressing imminent injury

in fact, causation and redressability). In addition, the four individual Coalition

Plaintiffs (“Member Plaintiffs”) have each submitted declarations with this Motion

describing the imminent injuries that will be caused by the Defendants and

redressed by injunctive relief.). See L. Digges Decl. (Ex. F); W. Digges III Decl.

(Ex. G); R. Davis Decl. (Ex. E); M. Missett Decl. ¶¶ (Ex. D). As before in this

case, each of Member Plaintiffs have standing. See Curling v. Kemp, 334 F. Supp.

3d 1303, 1314 (N.D. Ga. 2018). Stewart v. Blackwell, 444 F.3d 843, 855 (6th Cir.

2006) (“The increased probability that their votes will be improperly counted based

on punch-card and central-count optical scan is neither speculative nor remote.”).
                                          11
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 12 of 170




      The Member Plaintiffs also have standing to challenge the Defendants

breach of their rights to ballot secrecy, which “has been recognized as one of the

fundamental civil liberties of our democracy.” Anderson v. Mills, 664 F.2d 600,

608 (6th Cir. 1981). In addition, the Member Plaintiffs have standing to challenge

State Defendants’ voter registration and pollbooks which this Court has found

“present and imminent threat to voters’ exercise of their right to vote.” (Doc. 579

at 149). Some Member Plaintiffs feel that Georgia’s Dominion Voting System is

such a threat to their right to vote that they are being forced to vote by mail in

upcoming elections in order to protect their voting rights, which is also an injury.

FSC, Doc. 601 at ¶ 204. See Common Cause/GA., 554 F.3d at 1340, 1351-52

(11th Cir. 2009).


      Coalition Plaintiffs seek that the Court enjoin State Defendants to use hand-

marked paper ballots as the primary voting system in future elections; enjoin the

use of ballot timestamps, ballot sequence numbers and other electronic records that

permit the ballot to be connected to the voter; and enjoin the Defendants to provide

updated paper pollbooks in case the electronic pollbooks malfunction. Each of

these remedies would redress the injuries Member Plaintiffs face, and so each

Member Plaintiff has standing to see this relief.
                                          12
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 13 of 170




      Plaintiff Coalition for Good Governance has associational standing through

the Member Plaintiffs because (1) the Member Plaintiffs have standing to sue in

their own right, as shown above, (2) the interests at stake are germane to the

Coalition’s purpose of advancing constitutional liberties, with an emphasis on

protecting voting rights, and (3) the claims asserted and relief requested do not

require individual participation of Member Plaintiffs, all of which the Court has

already determined. See Curling at 334 F. Supp. 3rd at 1319; FSC, Doc. 601 at ¶¶

210 – 215 (allegations relating to association standing).

      Additionally, the Coalition also has organizational standing for the injuries it

faces. The Defendant’s planned use the BMDs has and will continue to force

Coalition to divert personnel, time, and resources to educating its members and the

voting public about how to protect their rights to cast a secret ballot and an equally

effective vote in the upcoming elections using BMDs. FSC, Doc. 601 at ¶¶ 216 –

220) (allegations relating to organizational standing). The Defendant’s planned

use of the BMDs will impair Coalition’s ability to engage in the organization’s

other projects by forcing it to divert resources to counteract the Defendants’ illegal

acts. The injunction sought against Defendants will redress these injuries by




                                          13
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 14 of 170




enjoining the use of the BMD component of Georgia’s Dominion Voting System.

(M. Marks Decl. (Ex. F)).


   IV.     COALITION PLAINTIFFS ARE ENTITLED TO INJUNCTIVE
           RELIEF

      A.     Ballot Marking Devices

            1.    Likelihood of Success on the Merits
      This Court concluded its September 17, 2018 decision with the following

direction to the State Defendants:

      The 2020 elections are around the corner. If a new balloting system is
      to be launched in Georgia in an effective matter, it should address
      democracy’s critical need for transparent, fair, accurate and verifiable
      election processes that guarantee each citizen’s fundamental right to
      cast an accountable vote.


Curling, 334 F. Supp. 3d at 1328. The Dominion BMDs do not allow citizens to

“cast an accountable vote” and their use must be enjoined.

      Dominion BMDs produce a printed ballot that contains human readable text

of a summary of the voter’s choices, and a QR code, which is not human readable.

It is the QR code, and not the human readable text, that is scanned and tabulated by

the system. The Dominion BMD accordingly forces voters to cast ballots that

they cannot read or verify. (See FSC, Doc. 601 ¶ 99 - 107). In addition, most


                                         14
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 15 of 170




voters will lack the memory and cognitive skills to verify that the human-readable

text summary is accurate. Yet, unless every voter accurately verifies his or her

complete ballot, BMD elections are unauditable and the ballot cards are not

uniformly reliable as records of voter intent. (FSC, Doc. 601 ¶ 116).

      Like the touchscreen DRE machines, the Dominion BMDs do not produce

an accountable vote or auditable results. Only hand marked paper ballots using

optical scanners to tabulate votes allow an effective post-election audit to be

accomplished by comparing the reported election results to a statistically valid

sample of the hand marked paper ballots themselves—the original source

document of each voter’s transaction, independent of any electronic interpretation.

      With DREs, meaningful recounts or post-election audits are impossible

because voting on DREs leaves no independent or accountable record of voters’

choices. BMDs share the same security issues and operate similarly to touchscreen

DREs, except that the BMD interprets the voter’s screen input and generates a

printed bar code, while the paperless DRE records the screen input directly into

electronic memory. In both cases, a computer is between the voter and the ballot,

and the voter cannot verify that the machine accurately recorded his or her vote.

An effective post-election audit cannot be performed on BMD-generated

                                          15
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 16 of 170




results because the only records of voters’ choices (computer-generated barcodes

and printed ballot summaries) are not independent of the electronic voting system

software. Instead, they are unverified secondary records generated by computers—

not by the voter. Both DREs and BMDs lack the required auditable paper record

of the original vote cast.

      Coalition Plaintiffs have filed in support of this Motion the Declaration of

Philip Stark, the inventor of the risk limiting audit. Dr. Stark concludes that

“BMDs are essentially as vulnerable as the DRE machines they would replace,

despite the fact that BMDs generate a ‘voter-verifiable’ paper trial.” (Stark Decl.,

Ex. A, ¶ 2). Dr. Stark explains that audits of BMD election results cannot “reliably

detect whether software bugs, errors, or hacking altered the reported election

results.” (Id. ¶ 4). This is in part because the audit trail generated by a BMD itself

“is vulnerable to malfunction,” and an audit cannot detect whether malfunctioning

BMDs corrupted the paper trail.

      Defendants’ position is that individual voters will have the opportunity to

review the computer-generated text on the paper record of their purported choices

to confirm the machine’s recording accuracy. But this will not create an auditable

record. It is an unreasonable burden on voters to require them to undertake the

                                          16
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 17 of 170




difficult process to check the machine accuracy for a long and complex ballot.

Though voters themselves may catch some kinds of BMD malfunction, “[r]esearch

shows that relatively few voters do check, and that they are not good at it.” (Id. ¶

13). In his declaration, Kevin Skogland6 explains the problems with human

readable Dominion BMD ballot summaries in detail. (K. Skogland Decl., Ex. B, at

¶ 32-37). For example, ballot resolutions are seldom summarized in a way that a

voter can recognize the question or remember his or her vote. And, even if the

“vast majority of voters caught and corrected errors in their printout, outcomes as

reflected in the BMD paper trail could be wrong, because some contests are

decided by small margins.” (Stark Decl., Ex. A, ¶ 11).

       The reliance on voters to verify the accuracy of the BMD ballots is

extremely problematic for a number of additional reasons. For example, if a voter

notifies an election official of problems with a BMD, “there is no mechanism to

translate that into remedial action beyond giving voters who complain another

chance to mark a ballot.” (Id. at ¶ 12). Further, if “election officials take voter

complaints of BMD malfunctions seriously, their only recourse is to hold a new



6
 Mr. Skogland is an Elections Security Researcher, Chief Technologist for Citizens for Better
Elections, and Senior Technical Advisor, National Election Defense Coalition.

                                               17
         Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 18 of 170




election. That would make the whole election vulnerable to ‘crying wolf.’” (Id. at

¶ 14).

         This case presents the Court with another “officially-sponsored election

procedure which, in its basic aspect, [is] flawed.” Duncan v. Polythress, 657 F.2d

691, 703 (5th Cir. Sept. 28, 1981). As with the State’s continuing use of the DREs,

the “threatened, ongoing injury here is an irreparable injury — one that goes to the

heart of the Plaintiffs’ participation in the voting process and our democracy.”

(Doc. 579 at 131). The State has no interest, much less a compelling interest, to

use BMDs instead of truly verifiable hand-marked paper ballots. For these

reasons, there is a substantial likelihood that Plaintiffs will succeed on the merits of

their claims that Dominion BMDs are unconstitutional.

               2.    Balance of the Equities and Public Interest

         Here, the “threatened injury to Plaintiffs outweighs whatever damage the

proposed injunction may cause the Defendants” and an injunction would not be

“adverse to the public interest.” (Id.). The proposed injunction here would not

cause damage to the Defendants. The Defendants are already obligated by this

Court’s August 2019 Order to develop a backup plan to deploy hand marked paper

ballots using Dominion’s system. If the Defendants are in full and good faith


                                           18
         Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 19 of 170




compliance with that Order, Defendants should be ready and able to use hand-

marked paper ballots instead of Dominion BMDs in the next election.

          The State Defendants, again, have no equities here. In selecting BMDs, the

State Defendants ignored the advice of the only computer scientist on the SAFE

Commission, Dr. Wenke Lee, the unanimous opinion of twenty-four leading

election and cybersecurity experts,7 and the repeated warnings of the Coalition

Plaintiffs in this litigation.8

          In addition, even if Defendants were not already under a Court order and had

not ignored the experts’ advice, there is substantial evidence in the record that

switching to hand marked paper ballots will not cause Defendants harm. Hand

marked paper ballots are used across the nation in approximately 112,000 precincts

covering 133 million registered voters. (A. McReynolds Decl., Doc. 413 at 223-24

n. 1). According to Ms. McReynolds: “This hand marked paper ballot and

scanning method of balloting is the most widely accepted voting method in the

nation.” (Id. at 224); see also Hoke Decl., Doc 413 at 255.




7
    See Doc. 351 at 17 (January 7, 2019 Letter to Secretary Crittenden from twenty-four experts).
8
 See Doc. 351 at 22 (March 24, 2019 Letter to State Defendants’ counsel) and Doc. 351 at 49
(April 1, 2019 Letter to State Defendants’ counsel).
                                               19
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 20 of 170




      With respect to logistics of transitioning to hand-marked paper ballots, the

Coalition Plaintiffs filed declarations in support of their prior motion for

preliminary injunction from three experts with substantial experience managing or

monitoring transitions to hand-marked paper ballot systems. (Doc. 413 at 237 (C.

Hoke); id. at 219 (A. McReynolds; id. at 270 (V. Martin)). All concur that the

transition using the existing Diebold system is feasible. (E.g., V. Martin Decl.,

Doc. 413 at 274 (“[I]t is my opinion that in Georgia an immediate switch to hand-

marked paper ballots using the optical scanning capabilities of its current voting

system is feasible, economical and essential for fair elections.”).

       “[O]nce a State’s [election-related] scheme has been found to be

unconstitutional, it would be the unusual case in which a court would be justified

in not taking appropriate action to insure that no further elections are conducted

under the invalid plan.” Reynolds v. Sims, 377 U.S. 533, 585 (1964). For the

foregoing reasons, and for the reasons set forth in the Curling Plaintiffs’

Memorandum, the State Defendants should be directed to conduct all elections

after January 1, 2020 using hand-marked paper ballots as the primary method of

recording the electors’ votes.




                                          20
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 21 of 170




       B.     Election Management System and Scanners

       As explained above in Part II, because of the uncertainty as to whether the

constitutionally compliant elements of Georgia’s Dominion Voting System can be

deployed on time for use with hand marked paper ballots beginning with January

2020 elections, the relief that the Coalition Plaintiffs seek would give the State

Defendants the flexibility to use the Dominion election management system and

scanners9 or the State’s currently certified Diebold GEMS system and AccuVote

scanners. Both systems can generate auditable results.

       C.     Meaningful Post-Election Audits

       Should the Court grant Plaintiff’s requested relief requiring that all elections

beginning January 1, 2020 use hand marked paper ballots, all election results

should be audited using methods that have a high likelihood of detecting an

inaccurate outcome. In its August 15, 2019 Order, this Court ordered the State

Defendants to “promptly file with the Court all proposed and final audit

requirements that the State Elections Board and Secretary of State’s Office

considers or approves in connection with elections to be held in 2020 or



9
 Under Coalition Plaintiffs’ requested relief, Dominion’s equipment, including its scanners, may
not be used if they violate ballot secrecy, discussed below.

                                              21
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 22 of 170




thereafter.” (Doc. 579 at 152). State law, however, does not require the State

Defendants to perform even superficial audits until November 2020,10 and there is

no indication from the State Defendants that they have any intention of filing any

audit plans with the Court before the 2020 elections, which are anticipated to begin

in January.

       To ensure that the State Defendants take timely action to develop audit plans

for hand marked paper ballots, Coalition Plaintiffs have moved the Court to order

the State Defendants to file a Proposed Audit Plan within 14 days of the entry of

the Court’s Order, describing the specific steps the State Defendants intend to take

to comply with the terms of the Court’s Order and to institute pre-certification,

post-election, manual tabulation audits of hand marked paper ballots to verify the

election results. The Proposed Audit Plan should be based on well-accepted audit

principles that assure a high probability that incorrect outcomes will be detected

and remedied, and include instructions to the county election superintendents to


10
   As the Court noted in its August 15, 2019, O.C.G.A. 21-2-498 provides “some manner of
auditing to evolve over the years.” (Doc. 579 at 139). The statute authorizes, but does not
require, the State Election Board to promulgate rules relating to audits. O.C.G.A. 21-2-498(d).
In their only meeting this year, the State Election Board did not discuss audits.
https://sos.ga.gov/index.php/elections/2019_seb_transcribed_hearing_minutes.




                                               22
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 23 of 170




address errors or irregularities detected in the post-election audit, including

instructions on escalating the audit, further investigation of irregularities, and the

method of correcting errors. Coalition Plaintiffs’ Motion also would give Plaintiffs

the opportunity to respond to the Proposed Audit Plan and for the Court, after a

hearing if necessary, to determine its adequacy. (Coalition Motion, ¶ 6).

      D.     Ballot Secrecy

             1.     Ballot Secrecy - Background facts

      Dominion ImageCast scanners used for in-person voting violate ballot

secrecy by recording the time and sequence of the ballots cast on the scanner.

Dominion ImageCast ballot scanners, which are used for both hand marked paper

ballots and BMD ballot cards, record these ballot time stamps and sequence

numbers in multiple ways, including through Dominion’s “AuditMark” feature and

through other metadata collected by the scanner. Dominion scanners thereby create

a unique and identifiable ballot for each in-person voter because every voter’s

ballot can be identified by comparing those time or sequence records to pollbook

entries, poll worker observation, poll watcher or public observation or video

security camera footage from the polling place.




                                           23
          Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 24 of 170




           AuditMark, a Dominion scanner software application installed on all

ImageCast scanners, uniquely marks “[e]very single ballot in the election.” (RFI at

11). According to the State of Georgia Request for Information: New Voting

System, Dominion Voting, Aug 24, 2018)11 when an elector casts her ballot into the

scanner, the ImageCast records a full image of the ballot. The AuditMark software

then stamps a label onto that image that includes numbered IDs representing “the

tabulator, batch, and sequence number within the batch, which corresponds to the

physical ballot in the stack,” and also a visible time stamp recording the exact

moment the ballot was cast and scanned. The ballot image with the AuditMark

label is saved (unencrypted) to removable Compact Flash memory cards (“CF

cards”), uploaded to the election management system, and retained. Dominion’s

documentation illustrates the AuditMark label with an image of a scanned ballot

including the visible label marking it as “Ballot ID: 2” which was “scanned at

14:31:37 on 02/09/14.” Dominion misleadingly claims that this data in the

AuditMark label “is never tied to the voter.”12




11
      https://sos.ga.gov/admin/files/Dominion%20RFI_No%20Redactions.pdf, at 16.
12
     Id. at page 11.

                                              24
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 25 of 170




      But the AuditMark labels do easily tie every in-person ballot to the voter

who cast it. Because AuditMark labels ballots in sequential order, the example

“Ballot ID: 2” was cast by the second person to cast their ballot on that scanner

that day. Voter order is generally easy to determine. Any person can observe the

voters in the polling place and decipher what their scanned Ballot ID numbers will

be. Long after the election, it is still easy to retroactively determine many electors’

Ballot IDs by checking pollbook logs or video security records. Each precinct also

creates a publicly available “Numbered Voter List,” which logs each in-person

voter in the order they checked-in to vote, as required by O.C.G.A. § 21-2-431. On

low turnout days, which occur frequently in early voting, the voter check-in order

and ballot casting order would be identical. Putting the Numbered Voter List

alongside the ballots sequentially numbered by AuditMark would immediately put

a name to every ballot in cases where voters are casting their ballots in the same

order in which they checked in.

      Likewise, the time stamp added by AuditMark can be used to easily thwart

an elector’s secret ballot. In the example in Dominion’s documentation, the ballot

was cast by the person who fed their ballot into the scanner at exactly 2:31pm and

37 seconds. By merely noticing the time, any observer would know exactly which

                                          25
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 26 of 170




ballot to look for to find how that elector voted. And again, all the ballot time

stamps can be combined with other public, readily available information to

systematically de-anonymize every ballot. In sum, the time stamps and Ballot IDs

added by AuditMark make the votes only slightly more secret than if AuditMark

simply printed each electors’ name onto their ballot.

       Egregiously, AuditMark stamps identifying information right onto the ballot

image, but the ImageCast scanners also save the same dangerous data elsewhere in

metadata, logs, and file structure. For example, when the unencrypted ballot

images are transferred from the CF cards to the election management system, they

are “randomized” so that “the ballot images are de-coupled from voter order.”

(Marks Decl. (Ex. C), Ex. 1, at 30). But this means the ballot images saved on the

removable CF cards are saved in voter order and are not de-coupled from the voter

order. Anyone with access to the CF cards, including pollworkers, officials, or

hackers13, could look at the voter scanning order and learn every elector’s vote.

Additionally, AuditMark works in conjunction with other parts of the ImageCast

scanners, and so those components too are likely to contain identifying



13
  This year at the hacker convention DEFCON, found that the CF cards were easily accessible
with a specialty screwdriver available at a nearby hardware store. (Doc. 619, Exhibit 9).

                                             26
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 27 of 170




information. AuditMark is designed so that even if the ballot images are “mixed

after scanning,” they can still be correlated back to the “digital Cast Vote Record

data.”14 Id at 11. The Cast Vote Records would need to contain the same Ballot ID

or time stamp to make that correlation possible. Therefore, it is clear that the Cast

Vote Records could also be independently used to deny elector’s their secret ballot

rights. Through any of this ballot scanner data, the right to a secret ballot in

Georgia would be violated. Dominion’s own documentation has provided this

information prior to discovery which may reveal further sources of potential for

ballot secrecy violations.

              2.     Ballot Secrecy - likelihood of success on the merits

       As discussed above, Georgia’s Dimension Voting System (whether BMD

ballots or hand-marked paper ballots are in use) violates ballot secrecy in multiple

ways. This violation of ballot secrecy places a substantial burden on the right to

vote which is not narrowly tailored to meet a legitimate state interest and, indeed,

has no justification at all. See Anderson v. Celebrezze, 460 U.S. 780, 789 (1983);

Burdick v. Takushi, 504 U.S. 428, 434 (1992). When the right to a secret ballot is



14
  As noted before, Dominion does take some minor steps to randomize ballot images in order to
preserve ballot secrecy. AuditMark apparently negates Dominion’s own, meager efforts.

                                             27
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 28 of 170




violated, the burden, and injury, first occurs when the voters, before making their

ballot choices, must pause to consider whether the disclosure of their choices will

subject them to ridicule or retribution. The retribution or ridicule itself is not the

only harm, but the concern caused by such potential creates an unreasonable

burden on the voter. The right to a secret ballot “has been recognized as one of the

fundamental civil liberties of our democracy.” Anderson v. Mills, 664 F. 2d 600,

608 (6th Cir. 1981). The secret ballot is a vital tool to “lessen[] the evils of

violence, intimidation, bribery and other corrupt practices which can be incumbent

in non-secret elections.” Id.

      The violation of ballot secrecy separately violates the Equal Protection

Clause because it treats different persons differently, i.e., voters who vote in person

as compared to voters voting absentee. See Bush v. Gore, 531 U.S. 98, 104-05

(2000). It violates procedural due process, because it deprives voters of the right to

secrecy guaranteed to them by Georgia law, without due process. And it violates

the federal right to ballot secrecy, which even the State Defendants have

recognized:

              The United States Supreme Court has also recognized the
              necessity of the secret ballot to prevent electoral abuses
              and its prevalence in all 50 states. Burson v. Freeman, 504
              U.S. 191, 206-07 (1992). Indeed, “[s]ociety has a strong
                                           28
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 29 of 170




             interest in encouraging all individuals, even the most
             timid, to vote.” In re Dinnan, 661 F.2d 426, 432 (5th Cir.
             Unit B 1981). State Defendants therefore object to this
             request for protected information on the basis that
             disclosure of cast vote images would destroy the secrecy
             of the ballot maintained by the Constitution of Georgia and
             recognized by the Supreme Court.

      (Doc. 369 at 22).

See McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 343 (1995) (“the freedom

to publish anonymously extends” to political advocacy and is “perhaps best

exemplified by the secret ballot.”).

      Defendants may take the position that ballot secrecy is not violated by

Georgia’s Dominion Voting System because the information is only available to

election officials and pollworkers. If “only” election officials know how voters

vote, the argument goes, so long as election officials do not disclose this

information to members of the public, there is no violation of ballot secrecy. To

the contrary: ballot secrecy, if it means anything, means that no one, not the State,

not the local county election official, not the voter’s neighbor or employer, and not

some internet hacker or data thief, will have access to information as to how a

voter voted. A voter’s right to cast her ballot freely without fear of ever being

called on to answer for that vote is violated when she must pause and attempt to


                                          29
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 30 of 170




evaluate whether election officials can or will keep her ballot confidential. The

standard is “absolute secrecy” not officials’ adherence to “confidentiality.”

             3.     Ballot Secrecy - Balancing of the Equities

      An order requiring the State Defendants to ensure that there is no

information recorded on any electronic record that may be used to identify the

individual who cast a particular ballot would not be difficult for the State

Defendants to follow. The State Defendants may restore ballot secrecy by

requiring Dominion to change the software to suppress all time stamp markings

and AuditMark recording of time and sequence of ballots cast . The scanners are

under warranty so that Dominion must keep the machines operating in accordance

with the mandatory requirements of machines, which includes preserving the secret

ballot. (Marks Decl. (Ex. C) ¶ 5, Contract 4.2). Switching back to AccuVote

scanners with the GEMS system would also solve the problems. Or the State can

collect ballots in a secure box and shuffle the ballots in the polling place before

Dominion ImageCast scanning.

      Even if protecting ballot secrecy were more difficult, the equities would still

balance in favor of granting equitable relief because the State of Georgia itself has

a compelling state interest in protecting ballot secrecy. The Georgia Constitution


                                          30
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 31 of 170




provides that elections “shall be by secret ballot.” Ga. Const. art. II, § 1 ¶ 1.

Consistent with this Constitutional mandate, state law provides that the county

superintendent shall “conduct all elections in such manner as to guarantee the

secrecy of the ballot and to perform such other duties as may be prescribed by

law;” O.C.G.A. § 21-2-70(13). O.C.G.A. § 21-2-373 states: “The Secretary of

State, in specifying the form of the ballot, and the State Election Board, in

promulgating rules and regulations respecting the conduct of elections, shall

provide for ballot secrecy in connection with write-in votes.”

      The long-standing protection of the secret ballot for optical scanning
provides:

      No optical scanning voting system shall be adopted or used unless it shall, at
      the time, satisfy the following requirements:
      (6) It shall permit voting in absolute secrecy so that no person can see or
      know for whom any other elector has voted or is voting, save an elector
      whom he or she has assisted or is assisting in voting, as prescribed by law;

O.C.G.A. §21-2-365 (emphasis added).

      Georgia election regulations are in accord. See Ga. Comp. R. & Regs. 183-

1-11-.01 (“Each Superintendent of Elections shall ensure that handicapped persons

casting their vote at the polls are able to do so in private by providing such

facilities and equipment as necessary to maintain the secrecy of the ballot.”); Ga.



                                           31
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 32 of 170




Comp. R. & Regs. 183-1-14-.07 (providing that a “spoiled ballot” includes a ballot

“that contains writing which compromises the secrecy of the ballot.”).

          For the foregoing reasons, the equities tip in favor of granting injunctive

relief.

          E.    Updated Paper Pollbook Backups

          In its August 15, 2019 Order, this Court found that the “voter database

problems extensively identified” in this case “present an imminent threat to voters’

exercise of their right to vote.” (Doc. 579, at 149). The Court quoted the findings

of the National Academies of Science Report “detailing the various methods in

which contamination of voter registration data and electronic pollbooks used in

conjunction with voting systems disrupts elections and its recommendation that all

jurisdictions using electronic pollbooks ‘should have backup plans in place to

provide access to current voter registration lists in the event of any disruption.

(NAS Report 72).” (Doc. 579, at 149 n.101). As detailed by Coalition Plaintiffs’

Rule 59(e) Motion to Alter or Amend Judgment (Doc. 605) and supporting briefs,

(Doc. 605-1 and 621), State Defendants appear to be taking no meaningful action

to avoid recurrence of voter disenfranchisement because of defective voter

registration and erroneous pollbook records.


                                             32
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 33 of 170




      Coalition Plaintiffs again move that the Court require the State Defendants

to order counties to provide in every polling place paper copies of pollbooks,

updated after early voting, for use in adjudicating polling place eligibility

problems. Coalition Plaintiffs incorporate herein the facts and allegations in

Section III of their Brief of Support of Rule 59(e) Motion to Alter or Amend

Judgment, (Doc. 605-1 at 12) and Section III of their Reply in Support of Rule

59(e) Motion to Alter or Amend Judgment (Doc. 621 at 14).

      There is no reason to believe that the systemic problems with epollbooks

will disappear with the transition to a new electronic pollbook component system.

If anything, the rapid transition to a new epollbook system and the integration

challenges will make these problems more severe. Even though this Court did not

grant this relief in response to Coalition Plaintiffs’ Rule 59(e) motion, such relief is

appropriately granted with this Motion.

      F.     Pollbook and Voter Registration Accuracy and Security
             Remediation

      In its August 15, 2019 Order, the Court ordered that the State Defendants

create a plan to address the ongoing voter registration and pollbook discrepancies

for implementation by January 3, 2020. (Doc. 579 at 149). But State Defendants

appear to be taking no steps to improve the security or accuracy of the voter
                                          33
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 34 of 170




registration data that feeds the electronic pollbooks, or to improve the accuracy of

the electronic pollbook data or operation of such pollbooks. Despite the ongoing

November elections, and the fast approaching January 3, 2020 implementation

date, no plan has been prepared or shared with Plaintiffs. Further, the

implementation of the new PollPad pollbook system – which uses wi-fi and

Bluetooth communications - appears to be proceeding with little consideration

given to election security, or analysis of what root causes generated the

discrepancies in the Diebold ExpressPollbook, or polling place cybersecurity risks.

To avoid the predictable continuation of such disenfranchising problems, Coalition

Plaintiffs seek relief in the form of an Order from the Court requiring the

preparation of an “Electronic Pollbook Report,” within 21 days of this Court’s

Order, that “addresses actions taken to date or that will be taken to ensure that past

operating problems with the Diebold ExpressPoll do not recur in the PollPad

electronic pollbooks,” “describes any operational problems of encountered with the

PollPad electronic pollbooks in the 2019 pilot elections,” and describes the polling

place security of the voter registration database and the pollbook data, “particularly

focused on wi-fi and Bluetooth connections of voting system components in the

polling place.”

                                          34
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 35 of 170




      For the foregoing reasons, Coalition Plaintiffs’ Motion for Preliminary

Injunction should be granted.

      Respectfully submitted this 23rd day of October 2019.

      /s/ Bruce P. Brown                           /s/ Robert A. McGuire, III
      Bruce P. Brown                               Robert A. McGuire, III
      Georgia Bar No. 064460                       Admitted Pro Hac Vice
      BRUCE P. BROWN LAW LLC                         (ECF No. 125)
      1123 Zonolite Rd. NE                         ROBERT MCGUIRE LAW FIRM
      Suite 6                                      113 Cherry St. #86685
      Atlanta, Georgia 30306                       Seattle, Washington 98104-2205
      (404) 881-0700                               (253) 267-8530
                        Counsel for Coalition for Good Governance



       /s/ Cary Ichter                             /s/ John Powers
       Cary Ichter                                 John Powers
       Georgia Bar No. 382515                      Pro Hac Vice (5/17/19 text-only order)
       cichter@IchterDavis.com
                                                   Ezra D. Rosenberg
       Ichter Davis, LLC                           Pro Hac Vice (ECF No. 497)
       3340 Peachtree Road NE
       Suite 1530                                  Lawyers’ Committee for Civil Rights
       Atlanta, GA 30326                           Under Law
       (404) 869-7600                              1500 K St. NW, Suite 900
                                                   Washington, DC 20005
                                                   (202) 662-8300

       Counsel for William Digges III,             Counsel for Coalition Plaintiffs
       Laura Digges, Ricardo Davis
       & Megan Missett



                                         35
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 36 of 170




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                            /s/ Bruce P. Brown
                                            Bruce P. Brown




                                       36
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 37 of 170




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2019, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




                                          37
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 38 of 170




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,               )
                                     )
             Plaintiffs,             )
                                     )       CIVIL ACTION
vs.                                  )
                                     )       FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                  )
ET AL.,                              )
                                     )
             Defendants.             )

               COALITION PLAINTIFFS’ MOTION FOR
                   PRELIMINARY INJUNCTION

                             INDEX TO EXHIBITS


           A. Philip Stark

           B. Kevin Skoglund

           C. Marilyn Marks

           D. Megan Missett

           E. Ricardo Davis

           F. Laura Digges

           G. William Digges




                                         1
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 39 of 170




                                                                     E
                                                                     X
                                                                     H
                                                                      I
                                                                     B
                                                                      I
                                                                     T


                                                                     A
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 40 of 170




                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


                                                     )
DONNA CURLING, et al.                                )
                                                     )
Plaintiff,                                           )
                                                     )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                                  )   2989-AT
                                                     )
BRAD RAFFENSPERGER, et al.                           )
                                                     )
Defendant.                                           )
                                                     )
                                                     )



             SECOND SUPPLEMENTAL DECLARATION OF PHILIP B. STARK

        PHILIP B. STARK hereby declares as follows:

  1. This statement supplements my statements of September 9, 2018, and September 30,

      2018. I stand by everything in the previous declarations.

  2. I understand that the State of Georgia proposes to deploy ballot-marking devices (BMDs)

      for all in-person voters. In my opinion, this will do little to improve election integrity in

      Georgia: BMDs are essentially as vulnerable as the DRE machines they would replace,

      despite the fact that BMDs generate a “voter-verifiable” paper trail. I shall explain why.

  3. I understand that Defendants argue that a BMD-based system is auditable, and that

      therefore BMD-based voting systems are acceptable. The premise is misleading and the

      conclusion is false.

  4. Every system is auditable—to some extent. The question is not whether a BMD-based

      system can be audited in some sense. The question is what audits of BMDs can
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 41 of 170




       accomplish, and in particular, whether they can reliably detect whether software bugs,

       errors, or hacking altered the reported election results. Audits of BMDs cannot.

    5. This is in part because BMDs make the paper audit trail vulnerable to malfunctions.

       Bugs, misconfiguration, or malicious hacking can cause the BMD to print something

       other than the selections the voter made on the touchscreen or accessible interface. Hand-

       marked paper ballots do not have that vulnerability.

    6. Audits of BMDs cannot reliably detect whether malfunctioning BMDs corrupted the

       paper trail. (I use the term malfunction generically to include problems due to bugs,

       configuration errors, and hacking.) This is true even if the malfunctions were severe

       enough to cause losing candidates to appear to win.

    7. If an audit or inspection of a BMD happens to discover a malfunction, there is in general

       no way to tell whether the malfunction altered electoral outcomes, nor any way to

       determine the correct electoral outcomes.

    8. Because a BMD-generated paper trail is not trustworthy, voting systems based largely

       on BMDs are not strongly software independent.1



1
  See Rivest, R.L., and J. Wack, 2006. On the notion of “software-independence” in voting
systems. https://people.csail.mit.edu/rivest/RivestWack-
OnTheNotionOfSoftwareIndependenceInVotingSystems.pdf
 (last visited 20 October 2019). A voting system is strongly software independent “if an
undetected change or error in its software cannot cause an undetectable change or error in an
election outcome, and moreover, a detected change or error in an election outcome (due to
change or error in the software) can be corrected without re-running the election.” Strong
software independence is extremely desirable. Systems based on optically scanning hand-marked
paper ballots (with reliable chain of custody of the ballots) are strongly software independent,
because inspecting the hand-marked ballots allows an auditor to determine whether malfunctions
altered the outcome, and a full manual tabulation from the paper ballots can determine who
really won, without having to re-run the election. A risk-limiting audit of an election conducted
using hand-marked paper ballots can guarantee a large chance of correcting the outcome if the
outcome is wrong. In contrast, because BMD printout cannot be trusted to reflect voters’
selections, auditors can only determine whether the BMD printout was tabulated accurately, not
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 42 of 170




   9. Because a BMD-generated paper trail is not trustworthy, voting systems based largely on

       BMDs cannot support evidence-based elections.2

   10. Only voters are in a position to catch some kinds of BMD malfunction. There is no other

       mechanism. No feasible amount of parallel or “live” testing or auditing can offer a

       reasonable chance of catching outcome-changing errors.3

   11. Even if the vast majority of voters caught and corrected errors in their printout, outcomes

       as reflected in the BMD paper trail could be wrong, because some contests are decided by

       small margins.4

   12. Even if voters notify pollworkers of problems, the way elections are conducted in

       Georgia (and the rest of the U.S.), there is no mechanism to translate that into remedial

       action beyond giving voters who complain another chance to mark a ballot. That is partly

       because voters who observe a problem get no evidence they can show to anyone else to




whether the election outcome is correct, nor can auditors determine the correct outcome.
Elections conducted using BMDs are not strongly software independent because, if a BMD
malfunction happens to be detected, there is no way to figure out what the correct electoral
outcome is without re-running the election.
2
  See Stark, P.B., and D.A. Wagner, 2012. Evidence-Based Elections. IEEE Security and
Privacy, 10, 33-41. https://doi.ieeecomputersociety.org/10.1109/MSP.2012.62 (last visited 22
October 2019) Evidence-based elections require election officials to produce convincing
evidence that the reported winner(s) really won. That is not possible if a noticeable fraction of
ballots are marked using BMDs. The draft of version 2.0 of the Voluntary Voting System
Guidelines (VVSG 2.0) requires systems to be software independent and to support evidence-
based elections. Draft Voluntary Voting System Guidelines, version 8, 19 September 2019
https://collaborate.nist.gov/voting/pub/Voting/VVSG20DraftRequirements/vvsg-2.0-2019-09-
17-DRAFT-requirements.pdf (last retrieved 22 October 2019).
3
  See Stark, P.B., 2019. There is no reliable way to detect hacked ballot-marking devices. ArXiV,
https://arxiv.org/pdf/1908.08144.pdf (last visited 20 October 2019).
4
  Stark, op. cit., and Appel, A., R. DeMillo, and P.B. Stark, 2019. Ballot-marking devices
(BMDs) cannot assure the will of the people, SSRN
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3375755 (last visited 20 October 2019).
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 43 of 170




       demonstrate that there was a problem. Showing a pollworker or election official the BMD

       printout does not prove anything: it is the voter's word against the BMD output.5

    13. Research shows that relatively few voters do check, and that they are not good at it.6

    14. If pollworkers and election officials take voter complaints of BMD malfunctions

       seriously, their only recourse is to hold a new election. That would make the whole

       election system vulnerable to “crying wolf.”7

    15. For the reasons above, the reliance on BMDs in elections should be kept to a minimum,

       and hand marked paper ballots should be the primary voting technology. With luck, there

       will soon be voting technology that is more accessible and more meaningfully auditable

       than BMDs—technology that supports “evidence-based elections,”8 as recommended by

       Principle 9, “Auditable,” in the most recent draft of Version 2.0 of the U.S. Voluntary

       Voting System Guidelines.9 Evidence-based elections are not possible if a noticeable

       percentage of ballots are marked using BMDs.

    16. Unless the State of Georgia adopts rigorous post-election audits, including “compliance

       audits”10 and risk-limiting audits (RLAs), using a voting system with a paper trail will not

       improve the trustworthiness of Georgia’s elections at all.




5
  Appel et al., op. cit.
6
  DeMillo, R., R. Kadel, and M. Marks. 2018. What Voters Are Asked to Verify Affects Ballot
Verification: A Quantitative Analysis of Voters’ Memories of Their Ballots, SSRN
https://ssrn.com/abstract=3292208 (last visited 20 October 2019).
7
  Stark, op. cit., Appel et al., op. cit.
8
  See note 2, supra.
9
  See note 2, supra.
10
   Stark and Wagner, op. cit.; Stark, P.B., 2018. An Introduction to Risk-Limiting Audits and
Evidence-Based Elections, Prepared for the California Little Hoover Commission,
https://www.stat.berkeley.edu/~stark/Preprints/lhc18.pdf
(last retrieved 21 October 2019).
        Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 44 of 170




     17. I drafted most of the language defining and explaining RLAs in Georgia’s Act 24 (2019-

        HB316) §21-2-498 (a)-(d). Contrary to my recommendations, Act 24 does not require

        routine RLAs, only a pilot, which is not required until late 2021.

     18. The audit requirements under HB 316 are seriously deficient. An audit could satisfy HB

        316 and yet have no chance of discovering or correcting errors, even outcome-changing

        errors.

     19. For instance, HB 316 does not require audits and recounts to be based on the human-

        readable marks on the paper trail. But a malfunctioning BMD could print barcodes that

        do not match the human-readable marks.11 An audit based on the barcodes cannot

        possibly detect that.

     20. HB 316 does not require audits to take any remedial action if they uncover errors in the

        electronic tally. Such “toothless” audits do little to ensure election integrity.

     21. HB 316 does not require any auditing until November 2020. The presidential primary

        elections will take place sooner. Absent any auditing, the primaries will be vulnerable to

        outcome-changing errors and malfunctions that would have a large chance of being

        caught and corrected by a RLA.




11
  A BMD can also print human-readable marks and barcodes that do not match what the voter
saw on the touchscreen or heard through the audio interface.
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 45 of 170




I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the foregoing is true

and correct.


       Executed on this date, October 22, 2019.



                                             _______________________________

                                                     Philip B. Stark
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 46 of 170




                                                                     E
                                                                     X
                                                                     H
                                                                      I
                                                                     B
                                                                      I
                                                                     T


                                                                     B
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 47 of 170




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                            )
DONNA CURLING, et al.                       )
                                            )
Plaintiff,                                  )
                                            )   CIVIL ACTION FILE NO.: 1:17-
vs.                                         )   cv-2989-AT
                                            )
BRAD RAFFENSPERGER, et al.                  )
                                            )
Defendant.                                  )
                                            )
                                            )




                DECLARATION OF KEVIN SKOGLUND

      KEVIN K. SKOGLUND hereby declares under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

                      Background and Qualifications

2. My name is Kevin Skoglund. I reside in the Commonwealth of

   Pennsylvania. I hold a Bachelor of Arts degree from Harvard University.

3. Since 2003, I have owned and operated Nova Fabrica, a company which

   engages in software programming, web development, digital security

   consulting, and training.



                                       !1
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 48 of 170




4. I have taught over 30 online courses for LinkedIn Learning, including

   several courses focused on digital security: “Programming Foundations:

   Web Security,” “Web Security: User Authentication and Access Control,”

   and “SSL Certificates for Web Developers.”

5. I cofounded Citizens for Better Elections, a nonpartisan grassroots group

   advocating for resilient, evidence-based elections. I currently serve as the

   Chief Technologist.

6. I am the Senior Technical Advisor to the National Election Defense

   Coalition (NEDC). NEDC is a national organization working to secure

   elections technology by bring together experts in cybersecurity and

   elections administration, policymakers, NGOs, and concerned citizens to

   build bipartisan consensus on a comprehensive, cost-effective plan to

   secure the vote.

7. Since May 2017, I have been an active participant in the National

   Institute of Science and Technology (NIST) Voting System

   CyberSecurity Working Group. The purpose of the group is to provide

   security guidance for voting systems to inform the development of the

   U.S. Election Assistance Commission (EAC) Voluntary Voting System

   Guidelines (VVSG). For over two years, the CyberSecurity Working

   Group has been developing security guidelines and requirements for the

   next generation of voting systems.

                                        !2
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 49 of 170




8. I am one of the leaders of an election security group which identified and

      continues to track election systems connected to the internet, as reported

      in the Vice article, “Critical U.S. Election Systems Have Been Left

      Exposed Online Despite Official Denials,” on August 8, 2019. 1

9. I have engaged in coordinated disclosures of vulnerabilities in election

      systems with the EAC, the Elections Infrastructure Information Sharing

      and Analysis Center (EI-ISAC), the Department of Homeland Security

      (DHS), state governments, and voting system vendors.

10.I have written several online articles, listed below, about electronic ballot

      marking devices generating barcodes on ballots and how barcodes could

      be modified to represent new values.

         i. Deconstructing an ES&S ExpressVote Paper Record2

         ii. How the ExpressVote XL Could Alter Ballots3

         iii. How ExpressVote Barcodes Could Be Modified4

11.I collaborated with the University of Pittsburgh Institute for Cyber Law,

      Policy, and Security to conduct an analysis of voting system purchases



1https://www.vice.com/en_us/article/3kxzk9/exclusive-critical-us-election-systems-have-
been-left-exposed-online-despite-official-denials
2   https://securiosa.com/posts/deconstructing_expressvote_records.html
3   https://securiosa.com/posts/how_the_expressvote_xl_could_alter_ballots.html
4   https://securiosa.com/posts/how_expressvote_barcodes_could_be_modified.html


                                             !3
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 50 of 170




   across Pennsylvania’s 67 counties.5 Among our principal findings, we

   show that the average cost of voting systems where most voters machine-

   mark ballots was $24.20 per registered voter, while the average cost of

   systems which rely primarily on hand-marked paper ballots was $12.18

   per registered voter, half the cost.

12.I serve as a Judge of Election in Montgomery County, Pennsylvania. The

   polling place I oversee uses a voting system manufactured by Dominion

   Voting Systems, Inc. (“Dominion”), configured so that most voters hand-

   mark a paper ballot and voters who want assistance use a ballot-marking

   device (“BMD”). The hardware and software is similar to the system

   being proposed for use in Georgia, but configured differently.

                Proposed Voting System for the State of Georgia

13.It is my understanding that the State of Georgia is planning to adopt a

   paper-based voting system (“Georgia’s Dominion Voting System”)

   manufactured by Dominion, and intends for most voters to use an

   ImageCast X touchscreen computer configured as a BMD (“Dominion

   BMD”) to create a ballot and to use an ImageCast Precinct optical

   scanner (“Dominion op-scan”) to scan and to tabulate the ballot. This

   polling place configuration is often referred to as a “BMDs for all voters”

   style of voting (“BMDs-for-All”).

5 https://www.cyber.pitt.edu/votingsystemsanalysis



                                           !4
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 51 of 170




14.It is my understanding that the State of Georgia is planning to adopt a

   system of electronic pollbooks (“Georgia’s KNOWiNK Pollbook

   System”) manufactured by KNOWiNK, LLC (“KNOWiNK”), and

   intends for all polling places to have Poll Pads (“Poll Pads”) to determine

   the eligibility of voters and to sign them in prior to voting.

15.I have read the declaration of J. Alex Halderman filed on October 4,

   2019, and I concur with all of the facts, expert opinions, and conclusions

   stated therein.

16.I have read the declaration of Philip B. Stark dated October 22, 2019, and

   I concur with all of the facts, expert opinions, and conclusions stated

   therein.

17.It is my opinion that Georgia’s Dominion Voting System raises

   significant election security and integrity concerns. It would

   unnecessarily add risks which could prevent accurate election results

   from being generated, and cause irregularities and malfunctions to go

   undetected.

                           Availability and Resilience

18.The primary concern of BMDs-for-All is that a well-functioning

   computer becomes a prerequisite for marking a ballot and introduces a

   risk that it will be misconfigured, malfunction, or otherwise not be

   available.

                                        !5
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 52 of 170




19.“Resilience” is an important property of secure systems. Resilience is the

   ability of a system to deliver the intended functionality continuously, to

   manage any problem and to recover from it with minimal impact.

20.There are real-world examples where voting systems were not resilient.

   Voting machines failed to start, malfunctioned during an election, or lost

   power. There are examples where short-term risk-mitigation measures,

   such as backup power supplies and emergency/provisional paper ballots,

   failed or were exhausted.

21.The unavailability of data resources is referred to as a “Denial of

   Service” (“DoS”). If all BMDs in a polling place are inoperable it would

   result in a complete Denial of Service, likely resulting in turning away

   voters. If some BMDs are inoperable or intermittently malfunctioning it

   would result in a partial Denial of Service, likely resulting in longer or

   slower-moving lines to vote.

22.Long lines to vote are a security concern because they reduce the

   availability of the voting system to all voters who wish to use it. Long

   lines may discourage voters from casting a ballot and can be an

   intentional or unintentional form of voter suppression.

23.BMDs-for-All inherently causes longer and slower-moving lines

   compared to systems in which most voters hand-mark paper ballots,

   because the voting capacity of each polling place is limited to the number

                                       !6
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 53 of 170




   of BMDs deployed and each voter has exclusive use of a BMD while

   making their selections, which can be a time-intensive task. Systems with

   hand-marked paper ballots do not have a similar bottleneck because

   many voters can mark their selections in parallel.

24.BMDs-for-All is not resilient to the risk of long lines because there is no

   easy way to increase voting capacity, due to the fact that a BMD is a

   prerequisite for marking a ballot. Systems with hand-marked paper

   ballots can easily add more voting capacity by adding cardboard privacy

   screens or passing out clipboards.

                             Susceptibility to Errors

25.All BMDs incorporating touchscreen interfaces are vulnerable to errors

   due to touchscreen miscalibration. A voter may touch a preferred

   candidate and their vote will either not register or register for a different

   candidate (“vote flipping”). Touchscreen miscalibration errors decrease

   usability, reduce public trust in the election, and diminish overall

   confidence that voter intent is being captured accurately.

26.All BMDs are vulnerable to malfunction when printing a ballot. The

   printer may malfunction, run out of consumable supplies, or fail to print

   the entirety of the ballot.

27.All BMDs are vulnerable to Presentation Attacks, where the voter makes

   one selection but the BMD outputs a different selection on the paper

                                        !7
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 54 of 170




   record. The success of a Presentation Attack depends on the voter not

   noticing the change and submitting the modified vote. Post-election

   audits will be unable to detect the discrepancy. The BMDs most

   vulnerable to Presentation Attacks are those with impediments to voter

   verification.

                         Concerns about Voter Verification

28.All BMDs require an addition verification action by voters to check that

   the BMD has marked the ballot correctly in order to ensure that a ballot

   to be cast was accurately marked by the machine. Checking the work of a

   computer should not be required of a voter and is not required when

   hand-marking a paper ballot.

29.While BMDs produce evidence of every vote, they produce weak

   evidence. Our judicial system is familiar with the notion that all evidence

   does not carry equal weight. BMD-generated ballots are only as strong as

   a voter’s willingness and ability to verify the paper record for errors and

   to take effective action on any errors they find.

30.Several studies have shown that a significant number of voters do not

   verify machine-generated ballots carefully and do not detect errors.6



6 Rice University: https://www.usenix.org/system/files/jets/issues/jets-0101-greene.pdf
Georgia Institute of Technology: https://papers.ssrn.com/sol3/papers.cfm?
abstract_id=3292208


                                            !8
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 55 of 170




31.In “Ballot-Marking Devices (BMDs) Cannot Assure the Will of the

      Voters,”7 the authors—Andrew Appel, Richard DeMillo, Philip Stark—

      enumerate the many obstacles to reliable voter verification of machine-

      marked ballots. They explain that risk-limiting audits (“RLAs”), designed

      to limit the risk of an incorrect outcome, are incapable of limiting the

      risks introduced by BMDs-for-All. I concur with their analysis.

                           Problems with Ballot Summaries

32.Dominion BMDs use commercial off-the-shelf (COTS) printers to print a

      ballot on blank paper stock which contains a two-dimensional barcode

      (“QR code”) and a summary of the voter’s ballot choices (“ballot

      summary”).

33.Dominion BMDs print ballot summaries with an abbreviated label for

      some contests. For example, I possess a sample ballot labeling a contest

      as “County Unified Gov Brd Mem”. The contest labels appear to have a

      maximum length which requires truncation. Such abbreviations inhibit

      the ability of voters to verify that their selections are listed correctly.

34.Dominion BMDs do not print the full text of any ballot proposition or

      question and these types of contests are routinely assigned a cryptic

      contest label instead. In the 2017 general election in Denver, Colorado, a



7   https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3375755


                                            !9
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 56 of 170




      Dominion BMD labeled eight long and complex ballot questions8 in the

      ballot summary as “Referred Question 2A” through “Referred Question

      2H,” and “Initiated Ordinance 300.”9 (See Attachment B.) No voter can

      be expected to reliably remember what issues are being referenced by

      these labels. The voter selections listed are also difficult to decipher and

      are adverse to voter verification: “Vote for YES/FOR - SI/EN FAVOR

      DE.”

35.Dominion BMDs print ballot summaries which indicate when a voter

      does not make a selection in a contest, however they do not indicate if

      both the contest and the selection has been omitted, due to malfunction or

      malfeasance. To detect this problem, each voter would have to remember

      all contests presented on the touchscreen and notice that a contest was not

      included in the printed list.

36.My experience with the Dominion BMD is that, when voters increase the

      size of the text on the screen to improve readability, the size of the text

      printed for the ballot summary, used for voter review, will not similarly

      increase. The text remains in the default font set for the election, which is

      typically a 10pt sans-serif font. Text which is small or whose size is not



8 The
    full text of the ballot questions can be reviewed at https://ballotpedia.org/
November_7,_2017_ballot_measures_in_Colorado
9   See Attachment B,


                                            !10
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 57 of 170




   under voter control inhibits the ability of voters to verify that their

   selections are listed correctly.

37.Even if voters are willing to take the time to attempt to verify the human-

   readable text in the ballot summary and make their best efforts to be

   accurate, there is no way to know whether their “verification” was

   accurate. Those administering the election cannot know if any voter, and

   therefore certainly not every voter, attempted to verify or did so

   successfully. As a result, ballots which use ballot summaries cannot be

   viewed as a reliable source record for auditing.

                             Problems with Barcodes

38.Barcodes increase the reliance on available, well-functioning BMDs in

   order to conduct an election. A BMD is a prerequisite for casting a ballot

   because a voter cannot create a barcode without its assistance.

39.Barcodes are machine-readable, but not human-readable. A device—such

   as a computer, barcode scanner, or smartphone application—is necessary

   to read the data stored in a barcode.

40.The Dominion BMD encodes vote selections inside one or more QR

   Codes as an alpha-numeric string of characters. This string of characters

   only has meaning to the voting system. It is proprietary. Any

   interpretation of the data stored in QR codes, even during post-election

   audits, is dependent on the voting system.

                                       !11
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 58 of 170




41.The QR codes may contain more than ballot selections. They could

   contain metadata associated with the ballot which can be used to

   determine the identity of the voter or the order in which votes were cast.

   Metadata which can be used to identify voters has been observed in the

   barcodes of other voting systems. The data stored in barcodes is

   unregulated and is not examined during federal certification.

42.The QR codes are not voter-verifiable. Even with a device to assist them,

   voters are unable to verify that the QR codes contain the correct

   information to ensure that their ballots are being cast-as-intended. A voter

   requires transparent information to make the choice to cast or to reject a

   machine-marked ballot. If a voter cannot read the data that will be cast

   and sent to the tabulator, then a voter cannot make an informed choice.

43.Barcodes are the only votes that are tabulated by the op-scan. The

   election results are the aggregate of the barcodes counted.

44.A voter can only verify the portion of the paper record which is human-

   readable text. The Dominion op-scan does not interpret or tabulate the

   contents of the human-readable text in the ballot summary. In contrast,

   another EAC-certified voting system, the Hart Verity Duo, does not use

   barcodes to store vote selections and uses optical character recognition

   (“OCR”) to tabulate the human-readable text in the ballot summary.




                                      !12
   Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 59 of 170




45.The human-readable text in the ballot summary will only be inspected by

    officials if there is a manual recount or audit which includes such

    inspection and if the ballot is selected for review. The ballot summary

    serves as a voter-verifiable paper audit trail (“VVPAT”).

46.Voting systems with barcodes and ballot summaries are vulnerable to

    Barcode/VVPAT Mismatch Attacks (“Mismatch Attack”), where a BMD

    outputs the correct selections in the ballot summary but encodes different

    selections in the barcode. The voter cannot notice the modified votes and

    will approve the ballot.

47.A barcode and ballot summary may not match for reasons unrelated to

    malicious attacks. As an example, in the 2016 Maryland General

    Election, a BMD printed barcodes for 18 contests but only printed the

    human-readable text for three. The voter still cast the ballot and the

    barcodes were counted, but the human-readable text is not auditable.10

48.Barcodes provide a path for hacking a voting system which does not exist

    with a ballot without barcodes. A barcode scanner can be thought of as a

    keyboard, which can submit any input when a barcode is read by the

    voting system. It may be possible to send commands which exit the

    running the voting system program. It may be possible to send commands


10 See Attachment A, from Maryland Board of Elections slideshow, slide 27, accessible at http://
www.ncsl.org/Portals/1/Documents/Elections/Elections_June2017_Ballot_Image_Audits.pdf


                                               !13
   Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 60 of 170




   which allow a code injection, which can cause arbitrary code to be

   executed.

                         Concerns about Electronic Pollbooks

49.As with the voting system, the primary security concern of electronic

   pollbooks is that a well-functioning computer becomes a prerequisite for

   determining a voter’s eligibility and introduces a risk that it will be

   misconfigured, malfunction, or otherwise not be available.

50.There are real-world examples where electronic pollbooks have

   malfunctioned, resulting in confusion, long lines, or voters being turned

   away. Problems may have allowed voters to vote more than once.11

51.The best practice to ensure that voter check-in is resilient to problems is

   to have paper pollbooks as a back up in every polling place. The paper

   pollbooks must be up-to-date with the current voter registration database

   and must be reconciled or updated after the early voting period to ensure

   that early voters are ineligible to vote a second time.

52. Poll Pads include networking capabilities over WiFi, cellular modem,

   and Bluetooth. Poll Pads use WiFi or cellular modem to connect to a

   central server hosting the election registration management software. Poll


11 Johnson County, IN: https://www.in.gov/sos/elections/files/Report%20-
%20Johnson%20County%20ePB%20Investigation%20Dec%2031%202018.pdf
Durham County, NC: https://www.charlotteobserver.com/news/local/article113248708.html
Lehigh County, PA: https://www.mcall.com/news/elections/mc-nws-lehigh-county-vote-twice-
opportunity-20181109-story.html


                                              !14
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 61 of 170




   Pads use Bluetooth to share voter check-in data with other Poll Pads in

   the same polling place to prevent double-voting. The Poll Pad can still

   function (with reduced features) if some or all of these network services

   are disabled.

53.Running any network services increases the risk of cyberattack, either

   through unauthorized connections to the system or using Machine-in-the-

   Middle Attacks where a malicious actor either intercepts, modifies, or

   eavesdrops on network communications. If network-based features are

   not essential, networking services should be disabled.

54.I am aware that in June 2019, the City of Philadelphia purchased 3,550

   KNOWiNK Poll Pads for $2.7 million and planned to use them for the

   first time in November 2019. In August 2019, Stephanie Tipton, the city’s

   acting chief administrative officer, notified the Board of Elections that

   they had encountered problems. She wrote: “The observed problems

   included failures to properly connect to voting machine printers and

   inadequate election night reporting.” The project management team

   recommended against using the Poll Pads because “it does not have

   confidence that KNOWiNK’s poll book system will be able to perform

   reliably for this November’s election.”12


12 https://www.inquirer.com/politics/philadelphia/philly-epollbook-electronic-systems-
should-not-be-used-city-says-20190917.html


                                           !15
 Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 62 of 170




55.Unlike voting systems, the EAC does not certiff electronic pollbooks,

   nor does it review their functionalrty or security. The responsibility falls

   to each state to independently review the functionality and securiry of

   electronic pollbooks.

56.Athorough cybersecurity review of the Poll Pad installation in the

   polling place should be conducted, primarily to ensure that unauthorized

   access to the Poll Pad and to the voter database is prevented.




      This 22nd day of October, 2019.




                                       t6
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 63 of 170




                           Attachment A
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 64 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 65 of 170




                           Attachment B
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 66 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 67 of 170




                                                                     E
                                                                     X
                                                                     H
                                                                      I
                                                                     B
                                                                      I
                                                                     T


                                                                     C
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 68 of 170




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



DONNA CURLING, ET AL.,
Plaintiffs,

v.
                                               Civil Action No. 1:17-CV-2989-AT
BRIAN KEMP, ET AL.,
Defendants.



            DECLARATION AND VERIFICATION BY MARILYN MARKS
               OF CERTAIN ALLEGATIONS STATED IN THE FIRST
            SUPPLEMENTAL COMPLAINT OF COALITION PLAINTIFFS


     1.    My name is Marilyn R. Marks.

     2.    I offer this verification to substantiate Coalition for Good

           Governance’s organizational and associational standing to bring the

           claims raised in the First Supplemental Complaint of Plaintiffs

           Coalition For Good Governance, Laura Digges, William Digges III,

           Ricardo Davis, and Megan Missett (the “FSC,” Doc. 601).

     3.    The facts and allegations pertaining to Coalition for Good

           Governance’s organizational and associational standing contained in

           Paragraphs 210-214, and 218-220 of the FSC are true.
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 69 of 170




      4.     The attached Exhibit 1 “State of Georgia Request for Information:

             New Voting System,” Dominion Voting, dated Aug 24, 2018 was

             obtained by download from the Secretary of State’s website at

             https://sos.ga.gov/securevoting/ .

      5.     I downloaded a copy of the contract and purchase agreement dated

             July 29, 2019 between Dominion Voting Systems, Inc. and the

             Secretary of the State of Georgia from the Secretary of State’s

             website at https://sos.ga.gov/securevoting/ and because of its length, I

             preserved a true and correct copy accessible at this link

             https://coaltionforgoodgovernance.sharefile.com/d-s8c1c6e4b1084097b

      6.     If called to testify under oath at an evidentiary hearing on the pending

             motions for preliminary injunctive relief, I would affirm the

             foregoing facts and allegations to be true.



Pursuant to 28 U.S.C. § 1746, I declare and verify under penalty of perjury that the

foregoing is true and correct.

Executed on this date, October 23, 2019.




                                               Marilyn R. Marks
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 70 of 170




                                                                     E
                                                                     X
                                                                     H
                                                                      I
                                                                     B
                                                                      I
                                                                     T

                                                                     1
         Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 71 of 170




Prepared for:         State of Georgia
                      Secretary of State
Address:              237 Coliseum Drive
                      Macon, GA 31217

Prepared by:          Waldeep Singh, Executive Vice President of Sales
Email:                Sales@DominionVoting.com
Phone:                (909) 362-1715
Due Date:             August 24, 2018 at 2:00 PM EST




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                         Page 1 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 72 of 170



                                 This page left intentionally blank.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                       Page 2 of 77
        Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 73 of 170




Table of Contents

Requested Information ____________________________________________________4
  3.1   Background ______________________________________________________4
  3.2   Statistics ________________________________________________________5
  3.3   Georgia’s Election Calendar _________________________________________6
  3.4   Future Methods of In-Person Voting __________________________________7
  3.5   Basic Requirements _______________________________________________8
  3.6   Questions _______________________________________________________9




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                           Page 3 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 74 of 170




Requested Information

3.1 Background
       State law provides for a uniform voting system where every county uses the same type
       of voting system equipment. Georgia has 159 counties and 159 election superintendents
       who run elections for each respective county. The State Entity maintains the statewide
       voter registration system; builds the ballots for each federal, state, and county election;
       and creates the electronic pollbooks files. The State Entity expects at this time that it will
       retain these responsibilities while using the new voting system.

       The State Entity is interested in replacing the following components of its current voting
       system:

            •   Election Management System: Global Election Management System (“GEMS”)
            •   In Person Voting Machines: AccuVote R6 and AccuVote TsX (“DREs”)
            •   Precinct Scanners & Tabulators: AccuVote-OS
            •   Statewide Electronic Pollbook System: ExpressPoll 4000 and ExpressPoll 5000

       The State Entity is also interested in exploring options for native Election Night
       Reporting (public display of election night aggregated results) capabilities that are
       available with proposed voting system solutions.

       The State Entity is not interested in replacing its voter registration system at this time.

       Georgia has four methods of voting: absentee by mail voting using optical scan paper
       ballots, absentee in person voting (three weeks of early voting), provisional ballot
       voting, and election day voting. Currently, absentee in person and election day voting
       are conducted solely on DREs. The State Entity anticipates that these four methods of
       voting will continue while using the new voting system. During absentee in person
       voting, voters are able to vote in any early voting location in their county. Georgia would
       like to keep this option for early voting in any new system. On election day, voters must
       vote at their assigned precinct.

       Dominion Voting Systems, Inc. (Dominion) has read and understands the background information as
       related to this Request For Information (RFI).




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                        Page 4 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 75 of 170




3.2 Statistics
         Polling Places: Approximately 2,365
         DREs: Approximately 27,000
         Precinct Scanners & Tabulators: Approximately 800
         Registered Voters: Approximately 6,700,000 (92% Active Status; 8% Inactive Status)
         Ballots Cast in November 2016 General Election: 4,165,405


         2018 Primary Election Turnout Breakdown:
            • 70%-75% of Electors Vote on Election Day
            • 20%-25% of Electors Vote During Absentee in Person Voting (Early Voting)
            • 2%-5% of Electors Vote Absentee by Mail
            • Less than 0.2% of Electors Vote Provisionally
         2016 General Election Turnout Breakdown:
            • 40%-45% of Electors Vote on Election Day
            • 50%-55% of Electors Vote During Absentee in Person Voting (Early Voting)
            • 5%-10% of Electors Vote Absentee by Mail
            • Less than 0.2% of Electors Vote Provisionally


       Dominion has read and understands the statistics as presented in Section 3.2.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                       Page 5 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 76 of 170




3.3 Georgia’s Election Calendar

       Federal, state, and county office elections are held in even-numbered years. For partisan
       offices, there is a general primary and a general election. In order to win a primary,
       general, or special election in Georgia, a candidate must receive a majority of the votes
       cast for that office. If no candidate receives a majority of votes cast, a run-off election is
       held between the candidates with the two highest number of votes. Non-partisan and
       judicial elections occur simultaneously and on the same ballot as the primaries in even-
       numbered years. Municipal elections usually occur in November of odd-numbered years,
       but some are held in even-numbered years.

       Dominion understands the State’s Election Calendar guidelines as provided in Section 3.3 above.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                           Page 6 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 77 of 170




3.4 Future Methods of In-Person Voting

       The State Entity anticipates that Georgia will move to a method of in-person voting
       utilizing optical scan paper ballots; digital scanners and tabulators; and ballot-marking
       devices for voters with disabilities. Provisional ballots will still be available as required
       by law. It is likely that one of the following methods of in-person voting will be utilized
       once the next voting system is deployed:

       •    Method 1: In-person (early and election day) voting is primarily conducted with
            optical scan paper ballots marked by hand. Ballot-marking devices are available to
            be used as needed. Ballots (hand-marked and marked using ballot-marking
            devices) are scanned by digital scanners and deposited into a secure ballot box.

       •    Method 2: In-person (early and election day) voting is conducted solely with ballot-
            marking devices. Ballots marked using ballot-marking devices are scanned by
            digital scanners and deposited into a secure ballot box.

       •    Method 3: Absentee in-person (early) voting is conducted solely with ballot-
            marking devices. Election day voting is primarily conducted with optical scan
            paper ballots marked by hand. Ballot-marking devices are available to be used as
            needed. Ballots (hand-marked and marked using ballot marking devices) are
            scanned by digital scanners and deposited into a secure ballot box.


       Dominion has read and understands the Future Methods of Voting information as presented in Section
       3.4. This information has been taken into consideration to develop responses to the Questionnaire
       section below.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                         Page 7 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 78 of 170




3.5 Basic Requirements

       An election management system, digital scanners and tabulators, and ballot-marking
       devices must be certified by the Election Assistance Commission to satisfy – at the
       minimum – the VVSG 1.0 standard.

       •   Solution must have been deployed successfully in another state.
       •   Solution must have functionality to quickly and accurately audit voting records.
       •   Solution must support overlapping and concurrent elections.
       •   Solution must have write-in candidate capability.
       •   Solution must incorporate encryption and digital signatures as security measures.

       Dominion has read and understands the Basic Requirements as presented in Section 3.5. This
       information has been taken into consideration to develop responses to the Questionnaire section below.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 8 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 79 of 170




3.6 Questions

1)     Explain how your solution meets our needs for the following voting system
       components:

       •   Election Management System
            At the heart of our complete voting system solution is Democracy Suite, a robust and tested
            Election Management System that drives all voting channels out of a single comprehensive
            database; mail-in ballots, in person voting, accessible voting, and Uniformed Overseas Citizens
            Absentee Voting Act (UOCAVA)/Remote Accessible Vote By Mail (RAVBM). All pre-election
            and post-election tasks utilize the same database. From ballot layout to results reporting on
            Election Night, Democracy Suite is a complete, end-to-end elections solution that provides a
            single, powerful and versatile platform for election management. The manner in which the
            application is being considered is consistent with Dominion’s experience in managing statewide
            implementations where the core application is utilized centrally (e.g. by the State) and the local
            jurisdictions use only a subset of the core application, which is further explained below.

            Democracy Suite is comprised of two main modules: Election Event Designer and Results, Tally
            and Reporting.

            Election Event Designer
            The Election Event Designer (EED) has all the tools needed to build the election project. From
            importing of your election data, ballot layout, audio, languages, machine settings to creation of
            election files for each voting unit, Election Event Designer sets the stage.

            We understand that ballot programming is a complex task that requires a high degree of accuracy
            and control. Dominion has developed tools to make this process more efficient, ensuring accuracy
            and peace of mind for your election staff. For instance,

           •   Election definition data may be entered manually or imported from voter registration systems
               using the Election Data Translator utility. The Election Data Translator utility allows the import
               of the election definition from State or County election files further simplifying the election
               definition process.
           •   Templates used for creating custom ballot layouts and options can be reused from election to
               election and imported into newly created election databases. Election definition data as well as
               the templates used for creating elections allow jurisdictions to create uniform, easy-to-read, and
               space efficient paper ballots.
           •   Election Event Designer uses the State or County geopolitical and election data to
               calculate the appropriate ballot styles and generate full-sized press-ready ballots in
               industry-standard PDF format. EMS lays out a variety of import ballot formats and can
               be used allow for the easy import of translated ballot content in jurisdictions using



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 9 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 80 of 170



               multiple languages.
           •   In the case of Georgia specifically, these files would then be transferred to local
               jurisdictions if the ballot layout functionality remains with the State.

           The Democracy Suite system supports ballot layouts consistent with Georgia guidelines and
           requirements. The ballot is 8.5" wide, and standard ballot lengths for the ImageCast
           Tabulators (ImageCast Central, ImageCast Precinct and ImageCast Evolution, which is an
           all-in-one ballot marking device, scanner and tabulator) are 11'' to 22'' ballots. The number of
           voting positions depends on the ballot style and the length of the ballot. The system can
           generate and process a 22” double-sided portrait ballot that can accommodate 500 voting
           positions.

           Results Tally and Reporting
           Results Tally and Reporting (RTR) module allows for upload of results files from in-person and
           central tabulation equipment. The consolidated results are verified, tabulated and published. RTR
           offers maximum flexibility to create predefined reports.in addition to a variety of standard election
           day reports including, election summary, Statement of Votes Cast, Cards Cast and RCV round by
           round reports.

           An additional efficiency built into the Democracy Suite RTR module is that reports can be generated
           as ballot processing continues uninterrupted. Under the current system, pulling reports causes a
           disruption to ballot processing. This efficiency enables the City to better respond to the community
           requests for real time election data.


           Additional features supported by Democracy Suite include our Audit Mark, Dual Threshold and
           Adjudication modules detailed below:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 10 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 81 of 170



           Audit Mark
           Every single ballot in the election is imaged
           and appended with Dominion’s patented
           AuditMark, a record of how the system
           interpreted the voter’s selections. This ballot-
           level audit trail allows election officials and
           other stakeholders to review not only the
           ballot images, but also the tabulator’s
           interpretation of each ballot.

           Each image is labeled with the tabulator,
           batch, and sequence number within the batch,
           which corresponds to the physical ballot in
           the stack. The AuditMark is appended
           directly to the image showing how the vote
           was interpreted at scan time. This AuditMark
           will also include any adjudications applied to
           the ballot for voter intent. Even if ballots for
           a given batch are mixed after scanning, these
           multiple records provide a way of correlating
           the digital Cast Vote Record data to the
           image scanned and finally to the physical
           paper ballot. While the AuditMark allows
           ballot-level auditing, it is never tied to the
           voter.

           Dual Threshold
           When a hand-marked ballot is scanned by an
           ImageCast tabulator – at the precinct level or
           centrally – a complete duplex image is
           created and then analyzed for tabulation by
           evaluating the pixel count of a voter
           mark. The pixel count of each mark is compared with two thresholds (which are customer
           configurable. to determine what constitutes a vote.

           If a mark falls above the upper threshold, it is determined to be a valid vote. If a mark falls below
           the lower threshold, it will not be counted as a vote. However, if a mark falls between the two
           thresholds (known as the “ambiguous zone”), it will be deemed as a marginal mark and the ballot
           will be returned to the voter for corrective action.

           With this feature, the voter is given the ability to determine their intent at the time they cast their
           ballot, not an inspection or recount board after the fact, when it is too late. The chart below



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                  Page 11 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 82 of 170



           illustrates the Marginal Mark threshold interpretation. If a mail ballot is returned with a marginal
           mark, the ballot is outstacked to the Adjudication Module. Here a team will view a voter’s intent and
           the outcome noted in the system.

           ImageCast Adjudication
           As ballots are being scanned on the ImageCast Central or through in-person voting locations, the
           Adjudication software electronically out-stacks ballots, in real time, that need to be reviewed for
           conditions ranging from overvotes, undervotes,
           blank ballots, blank major contests and
           marginal marks to certified write-ins. The
           Adjudication module allows for the efficient
           processing of ballots that require resolution of
           voter intent on a ballot-by-ballot basis. Ballots
           with write-ins that are tabulated on the
           ImageCast Evolution, will also be sent through
           Adjudication for resolution. This system
           eliminates the need to purchase or print
           additional ballots, take days to manually
           adjudicate and re-scan days after the election is
           over. Simple scan ballots and adjudicate ballots
           the same day. Adjudication also offers a robust,
           ballot-level audit trail. Each ballot scanned by
           the system is appended with an AuditMark.

           When a ballot is reviewed in the Adjudication module, and a user makes an adjudication decision,
           the ballot image is appended with a record of that decision: which user took what action at what
           time. This allows election officials to ensure that adjudication decisions made by authorized users
           can be further scrutinized and reviewed, and reversed if necessary, with a clear audit trail of which
           decisions were made concerning a particular ballot.

       •   Ballot Marking Devices

           Dominion’s primary offering for ballot marking devices is the ImageCast X, which can be
           configured as a ballot marking device or a direct recording electronic with a Voter Verifiable Paper
           Audit Trail printer. Below we provide additional details for each product:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                              Page 12 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 83 of 170



           ICX Ballot Marking Device
           Today, voters and election officials are increasingly looking to leverage everyday technologies to
           improve the voting process and experience. Dominion is listening to our customers, and has a
           designed a touchscreen, in-person Ballot Marking Device that combines the flexibility, efficiency,
           and simplicity of modern technology, with an underlying platform of security and performance –
           Democracy Suite. The ImageCast X Ballot Marking Device can support different voting models,
           including early voting.

           In addition to its
           touchscreen functionality,
           the ImageCast X Ballot
           Marking Device was
           designed as a voting
           solution for all. The fully
           ADA-compliant ImageCast
           X offers several options for
           voters with accessibility
           needs to vote in a private
           and independent manner. It
           presents the ballot in audio
           only, visual only, or both
           audio and visual modes,
           depending on personal preference.

           The ImageCast X is compatible with a range of accessibility devices that voters can use to navigate
           through the ballot and make their selections. The system is compatible with a hand-held controller
           called the Audio Tactile Interface (ATI), sip and puff device, or paddle device.

           Voters make their selections on the ImageCast X, which then prints a paper ballot. The printed
           choice summary ballot contains a written summary of the voter’s choices, as well as a 2D barcode
           that is read by Dominion’s ImageCast Central tabulator. No votes are stored on the ImageCast X
           touchscreen unit. The ImageCast Central tabulators store and tabulate all votes.

           The ImageCast X is comprised entirely of COTS (commercial-off-the-shelf) hardware. The
           flexibility and ease of use of this device makes it the best option for the changing election landscape.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 13 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 84 of 170



           ImageCast X Direct Recording Electronic
           The ImageCast X can also be configured as
           a DRE configuration when accompanied by
           the VVPAT (Voter Verified Paper Audit
           Trail) thermal printing unit. The VVPAT
           method provides feedback to voters using a
           ballot-free voting system. The VVPAT is
           an independent verification system for
           voting machines designed to allow voters to
           verify that their vote was cast correctly, to
           detect possible election fraud or
           malfunction, and provide a means to audit
           the stored electronic results.


       •   Digital Scanners & Tabulators

           ImageCast Precinct
           The ImageCast Precinct is one of the most widely used tabulators with over 100,000 units deployed
           worldwide. It is one of the most reliable optical scan tabulators, and safely stores and tabulates each
           vote from every ballot – including hand-marked ballots and choice summary ballots.

           Used in large scale elections, the ImageCast Precinct is the industry’s most reputable and reliable
           optical scan tabulator. Not only does the ImageCast Precinct tabulator consistently tabulate votes, it
           also has a strong track record on wireless results transmission in large, complex elections.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 14 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 85 of 170



            ImageCast Evolution
            The ImageCast Evolution unit (ICE) is a precinct-level, digital scan, ballot marking device and
            tabulator that is designed to perform three major functions:

            •   Ballot scanning and tabulation
            •   Ballot review and second chance voting
            •   Accessible voting and ballot marking
        
            The ImageCast Evolution is Dominion's most advanced and simple to use tabulator. It features a full
            LCD interface that presents a unique, all-in-one digital ballot scanning and internal ballot marking
            solution. The ImageCast Evolution was designed to exceed the EAC VVSG 2005.

            The ImageCast Evolution functionality
            includes scanning and ballot marking
            for all targets on ballots ranging from
            sizes of 8 ½inches by 11 to 22 inches in
            length. The ImageCast Evolution
            provides several different options for
            certain ballot parameters. For example,
            a jurisdiction can configure the
            ImageCast Evolution to automatically
            accept, reject or divert a ballot under
            certain conditions. Additionally, it can
            be configured to alert the voter or
            operator of any errors that require
            further action to be taken.

            Voters make their selections by filling
            in the voting targets next to their
            choices on a paper ballot. The voter then inserts the ballot directly into the ImageCast Evolution,
            which performs the following functions:

            •   Scans the ballot.
            •   Alerts the voter of any errors on the ballot, with or without full ballot review on.
            •   Interprets the digital image of the ballot and appends to the bottom of the image a record of how
                that ballot was interpreted by the machine (AuditMark imaging technology, proprietary to
                Dominion Voting Systems).
            •   Redundantly stores and tallies the results.
            •   Prints cumulative totals of all votes cast after the polls have been closed.

            The ImageCast Evolution is also equipped with an ultra-sonic multi-feed detector that prevents the
            device from accepting more than one ballot a time. Dominion has developed secure ballot paper that




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 15 of 77
       Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 86 of 170



           if used, is detected by the unit. If the paper is a copy or not a valid ballot, the unit will reject the
           ballot.

       •   High Speed Scanners and Tabulators

           ImageCast Central
           Dominion’s ImageCast Central, like all of our ImageCast products, stores the ballot image with the
           secure AuditMark. The system’s flexibility allows the jurisdiction to customize out-stacking
           conditions, such as overvotes, undervotes, marginal marks, and certified write-in contests. The
           ImageCast Central has all the tools election officials are looking for to make their central count
           process easy and more efficient.

           With the ImageCast Central count solution, Dominion focused its efforts on how to create
           efficiency using lower cost, off-the-shelf scanners which meet the VVSG 2005 standards,
           and software that streamlines the process.

           Easy to Use
           The ImageCast Central features a user
           friendly, intuitive touchscreen user
           interface to securely access the
           administrative functionality of the unit
           as required for the setup, operation and
           closing of the device. Non-technical
           personnel can easily learn to handle
           equipment, as the software is intuitive
           and requires minimal training for users.
           It is simple - the operator loads the
           batch into the scanner; presses scan.
           When complete, the operator presses
           the accept button and moves on to the
           next batch.

           The operator does nothing but process the ballots. The system’s intelligence does the rest.

           Flexible and Scalable Solution
           Along with the requisite COTS hardware, the ImageCast Central provides ample
           flexibility to meet the needs of small, medium and large jurisdictions. ImageCast Central
           allows jurisdictions to consolidate results in an efficient environment, in real time.

           Better Central Scan Reliability
           This use of less expensive and compact third-party devices enables the ImageCast Central
           count solution to offer higher sustained throughputs in the face of hardware failures,
           flexible site layouts when space is at a premium, and access to a vast pool of readily
           available replacement parts and certified technicians. Additionally, these units have
           minimal moving parts, which increases the reliability. A simple microfiber towel is all you
           need to clear the dust and particles left by paper ballots. The uptake rollers and be easily




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                   Page 16 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 87 of 170



      removed for cleaning or replacement. All of these factors translate to improved
      maintainability, and lower cost of ownership.

      The ImageCast Central has a proven track record of being able to scan ballots in real- life
      ballot scenarios, such as folded ballots, and ballots that have been crushed, stained or are
      dirty. Customers have noted that this has significantly reduced the number of ballots that
      need to be hand duplicated before being processed through the system. The Canon scanner
      features a simple paper path, limiting the number of paper jams. There is no pre-sorting of
      ballots or re-orientation of ballots needed before scanning.

       Programming the ImageCast Central
       Central scanning is typically used to process absentee or mail-in ballots. The election
       definition is taken from EMS, using the same database that is utilized to program any
       precinct scanners for a given election. Multiple ImageCast Central scanners can be
       programmed for use in an election. The ImageCast Central application is installed and
       later initialized on a computer attached to the central count scanner. Ballots are processed
       through the central scanner(s) in batches based on jurisdictional preferences and
       requirements.

       Results from the ImageCast Central
       The ImageCast Central stores ballot images by scanned batches. The scanned ballot
       images are migrated to the Election Management System through computer networking
       or removable media. As with results data from any precinct scanners in use for an
       election, Results Tally and Reporting is the portion of EMS that processes the images to
       provide tabulation and operational reports to the jurisdiction.

       Batches can be appended, deleted, and processed in a number of ways to suit typical
       election workflows, intake of ballots before, during, and after Election Day, jurisdictional
       requirements surrounding absentee ballot tabulation, and canvassing needs. The
       ImageCast Central also features all of the technological advances present in the precinct-
       level tabulators – the AuditMark and the Dual Threshold technology.

       The ImageCast Central is compatible with several scanner options to meet any demands,
       big or small. Our lineup includes the Canon Dr-M260 for small jobs, Canon DR-G1130
       for medium to high volume, and the Interscan HiPro for high volume.

       Configurations including the commercially available off the shelf products of the Canon
       Dr-M260 and Canon DR-G1130 are easily scalable by adding any number of additional
       units to handle expected volume. The Interscan HiPro (subject to certification) offers the
       highest scan capacity to meet the needs of the largest jurisdictions. Below we provide
       some detailed information regarding each scanner:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 17 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 88 of 170




       Cannon M260
       • Low Cost and Highly Scalable
       • Fully Integrated with ImageCast Central Software
       • Scans single-sided and double-sided 11” to 22”
          ballots
       • Up to 120 images per minute depending on settings




           Canon G1130
           • Mid-range Cost and Highly Scalable
           • Fully Integrated with ImageCast Central Software
           • Scans single-sided and double-sided 11” to 22”
              ballots
           • Up to 200 images per minute depending on settings




           Interscan HiPro (subject to certification)
           • Single unit for high capacity needs
           • Fully integrated with our ImageCast Central
               Software
           • Small footprint of approximately 16 square feet
           • Scans single-sided and double-sided 11” to 22”
               ballots
           • Dual input trays for continuous scanning
           • Up to 300 images per minute depending on
               settings




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 18 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 89 of 170




        •   Statewide Electronic Pollbook System

            For the purposes of this RFI response, Dominion is not proposing an electronic
            Pollbook System. As an elections provider for more than 1,200 entities throughout
            North America, our EMS is capable of working with many third party pollbook
            providers. We would be happy to explore compatibility with any pollbook provider
            selected by the state of Georgia or individual jurisdictions.

2)      Describe how your solution would accommodate each of the proposed
        methods of in-person voting described in Section 3.4. Discuss the pros and
        cons of each method as it relates to your solution.

        Dominion believes in offering a variety of solutions to meet the needs of our customers,
        as opposed to adhering to a one size fits all mentality. Therefore, we have developed
        scalable products and solutions that can meet a variety of objectives to meet your needs.

        For example, the In-Person voting solution can be performed on the ImageCast X Ballot
        Marking Device or on the ImageCast Evolution. Scanning and tabulation can be
        performed at the local precinct level using the ImageCast Precinct or ImageCast
        Evolution, while central scanning is performed with the ImageCast Central.

        As detailed previously, the ImageCast X can be configured as a ballot marking device or
        a Direct Record Electronic. As a Ballot Marking Device the ImageCast X prints the
        completed ballot using the accompanying printer. The ballot can then be deposited into a
        ballot box for central tabulation or fed into the precinct based ImageCast Precinct or
        ImageCast Evolution.

        Simplicity and scalability are the main advantages of using the ImageCast X. To vote
        using the ImageCast X, a voter is provided with an activation card to activate the voting
        session and reveal the voter’s specific ballot style. Once the voter has reviewed their
        ballot and has confirmed they are ready to print, the ImageCast X can print a reduced
        choice summary ballot on standard non-proprietary paper (8.5” x 11” or 8.5” x 14”),
        which contains a written summary of the voter’s choices, as well as a 2D barcode which
        is read by any ImageCast tabulator.

        ImageCast X units can be scaled by adding or removing units from individual precincts to
        properly adjust for voter traffic. And given the compact size of the ImageCast X, efficient
        storage and transportation solutions are available.

        The ballot produced by the ImageCast X Ballot Marking Device is compatible with all
        ImageCast tabulation solutions including the ImageCast Precinct and ImageCast
        Evolution, which can be used as a precinct level scanner and tabulator where ballots are
        fed, scanned, and tabulated, pending any outstack conditions requiring adjudication.
        Alternatively, ballots can be inserted in to a general ballot box for central tabulation with
        the ImageCast Central.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 19 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 90 of 170



       The ImageCast X configured as a Ballot Marking Device, or a Direct Record Electronic,
       supports an efficient tabulation process, while preserving both a paper audit trail and
       digital ballot images to support an efficient audit process.

       As Dominion works with approximately 1,300 jurisdictions across North America, we
       have the ability to provide numerous solutions to meet the needs of the State of Georgia.

       Below we provide high level details on potential solutions for each of the voting
       scenarios. We would be happy to provide additional information in response to a
       Request For Proposal or upon request.

       a) Method 1: In-person (early and election day) voting is primarily
          conducted with optical scan paper ballots marked by hand. Ballot-
          marking devices are available to be used as needed. Ballots (hand-
          marked and marked using ballot-marking devices) are scanned by
          digital scanners and deposited into a secure ballot box.

           Potential solutions for Method 1 include utilizing the ImageCast Evolution as an all-
           in-one ballot marking device and tabulator, or alternatively, utilizing the ImageCast
           X as the ballot marking device and paired with an ImageCast Precinct as the
           tabulator:

           The ImageCast Evolution would be the only unit required to meet the needs set
           forth in Method 1, drastically reducing the number of units needed to be deployed in
           any given jurisdiction. At minimum 2-6 units per location would be sufficient to
           handle any Accessibility Voting requirements as well as Early Vote and in Precinct
           voting that would be done primarily on paper.

           The ImageCast X paired with the ImageCast Precinct can be utilized to meet your
           needs under method 1. The ImageCast X can be configured as a Ballot Marking
           Device or as a Direct Recording Electronic with an associated Voter Verified Paper
           Audit Trail (VVPAT). In a VVPAT configuration, the voter prints the verifiable
           audit trail and casts the vote electronically. In the BMD configuration the voter
           prints the ballot which is then subsequently scanned in the ImageCast Precinct
           Tabulator. In either configuration, the jurisdictions would only need 1-2 ImageCast
           X units per polling location. The associated number of ImageCast Precinct
           Tabulators would remain 2-6 units depending on the factors highlighted above.

       b) Method 2: In-person (early and election day) voting is conducted solely
          with ballot-marking devices. Ballots marked using ballot-marking
          devices are scanned by digital scanners and deposited into a secure
          ballot box.

           If the jurisdiction were to select Method 2 as its primary method of voting than the
           number of ImageCast X units (either VVPAT or BMD) would increase relative to the
           decrease in the number of ImageCast Precinct Tabulators. In this scenario, the
           ImageCast X BMD/VVPAT configuration would be 2-6 units per location depending
           on the jurisdiction and 1-2 ImageCast Precinct Tabulators.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 20 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 91 of 170




        c) Method 3: Absentee in-person (early) voting is conducted solely with
           ballot-marking devices. Election day voting is primarily conducted with
           optical scan paper ballots marked by hand. Ballot-marking devices are
           available to be used as needed. Ballots (hand-marked and marked using
           ballot marking devices) are scanned by digital scanners and deposited
           into a secure ballot box.

            Our proposed Method 3 solution is similar to Method 2 above with respect to product
            offering and quantities. The ImageCast X units (either VVPAT or BMD) can be
            utilized for both Early Voting and Election Day to reduce the overall number of units
            required for purchase.

3)      Describe the paper stocks associated with your proposed solution. What
        are its storage requirements in regards to climate and space?

        The approved paper for ImageCast ballots has been incorporated into a family of options
        known as VoteSecure (100# Text). Understanding that different printing technologies can
        impact the paper surface of a ballot in different ways, VoteSecur has been developed to
        allow printers to choose a VoteSecure option that will provide the best performance on a
        jurisdiction’s voting equipment.
                                                                                        Recommended
         Manufacturer        Print Method            Weight          Color / Finish         Paper
                               Toner Based                           Bright White,
            Rolland
                                  Ballot        100# Text                                VoteSecure SL
         Enterprises Inc                                             Smooth Finish
                                Production

            Rolland            Inkjet Ballot                         Bright White,
                                                100# Text                                VoteSecure IJ
         Enterprises Inc        Production                           Smooth Finish

            Rolland            Offset Ballot                         Bright White,
                                                100# Text                                VoteSecure SD
         Enterprises Inc       Production                            Smooth Finish

        The paper does not require any special storage requirements and can be stored in the
        same conditions as the associated hardware as described later in this proposal.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 21 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 92 of 170



4)      Please provide a number of scanners and ballot-marking devices that
        Georgia would need for each proposed method of in-person voting
        described in Section 3.4, keeping in mind that currently voters are allowed
        to vote at any early voting location in the county during absentee in-person
        voting.

        Method 1
        Dominion Voting has a variety of options available to meet the requirements set forth in
        Method 1.

        ImageCast Evolution (ICE). The ICE is the only “all-in-one” ballot marking device and
        precinct tabulator on the market today. If the jurisdiction were to select this product
        offering then it would be the only unit required to meet the needs set forth in Method 1,
        drastically reducing the number of units needed to be deployed in any given
        jurisdiction. Dominion anticipates that additional information would be provided as part
        of any Request for Proposal that would further delineate the requirements set forth in this
        method of voting. At minimum 2-6 units per location would be sufficient to handle any
        Accessibility Voting requirements as well as Early Vote and in Precinct voting that
        would be done primarily on paper. Further analysis would need to be conducted to
        ascertain the throughput per location, early voting sites based on this configuration,
        logistical information such as warehouse space and transportation to and from polling
        locations, ballot box design (e.g. hard case or collapsible) in order to provide a complete
        configuration.

        ImageCast X BMD or VVPAT with ImageCast Precinct. In this configuration, the
        ImageCast X can be utilized in either a BMD configuration or in a similar DRE
        configuration with an associated Voter Verified Paper Audit Trail (VVPAT). In a
        VVPAT configuration, the voter prints the verifiable audit trail and cast the vote
        electronically. In the BMD configuration the voter prints the ballot which is then
        subsequently scanned in the ImageCast Precinct Tabulator. In either configuration, the
        jurisdictions would only need 1-2 ImageCast X units per polling location. The associated
        number of ImageCast Precinct Tabulators would remain 2-6 units depending on the
        factors highlighted above.

        Method 2
        In-person (early and election day) voting is conducted solely with ballot-marking devices.
        Ballots marked using ballot-marking devices are scanned by digital scanners and
        deposited into a secure ballot box.

        If the jurisdiction were to select Method 2 as its primary method of voting than the
        number of ImageCast X units (either VVPAT or BMD) would increase relative to the
        decrease in the number of ImageCast Precinct Tabulators. In this scenario, the
        ImageCast X BMD/VVPAT configuration would be 2-6 units depending on the
        jurisdiction and 1-2 ImageCast Precinct Tabulators.

        Method 3
        Absentee in-person (early) voting is conducted solely with ballot-marking devices.
        Election day voting is primarily conducted with optical scan paper ballots marked by



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 22 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 93 of 170



        hand. Ballot-marking devices are available to be used as needed. Ballots (hand-marked
        and marked using ballot marking devices) are scanned by digital scanners and deposited
        into a secure ballot box.

        If the jurisdiction were to select Method 3 as its primary voting method then it would be
        similar to Method 2 above with respect to product offering and quantities. Bearing in
        mind that the ImageCast X units (either VVPAT or BMD) can be utilized for both Early
        Voting and Election Day to reduce the overall number of units required for purchase.

5)      Depending on the method of in-person voting described in Section 3.4 that
        Georgia adopts, it may have a need for ballot-on-demand printing
        capability. Please describe your solution to our potential need for ballot-on-
        demand printing.

        Mobile Ballot Printing
        Dominion offers a Mobile Ballot Printing solution to easily
        print ballots whenever and wherever needed. Fully integrated
        with Democracy Suite, the Mobile Ballot Printing module
        allows jurisdictions to provide “Vote Anywhere” locations in
        a cost-effective and flexible way. The system is hardware
        “agnostic,” giving you the flexibility to use your existing print
        hardware or leverage other commercially available off-the-
        shelf (COTS) printers.

        The Mobile Ballot Printing module has a user-friendly interface that presents clear
        information about ballots available to print, and features audit reports to track how many
        times each ballot style has been printed. Democracy Suite ballots have interfaced with a
        variety of on-demand ballot printing solutions, and Dominion is willing to work with the
        current vendor to provide this service to the jurisdictions. The vendors qualified to print
        Dominion ballots are subject to a printing qualification process conducted by Dominion
        for quality assurance.

6)      Explain how your solution meets each of the basic requirements in Section
        3.5.

        Per the requirements set forth in Section 3.5, an election management system, digital
        scanners and tabulators, and ballot-marking devices must be certified by the Election
        Assistance Commission to satisfy – at the minimum – the VVSG 1.0 standard.

        •   Solution must have been deployed successfully in another state.

            Agreed. Democracy Suite and associated ImageCast product solutions have been
            successfully deployed throughout North America. Our response to Question 23 below
            provides a representative list of current and future customers utilizing our solutions.
            We would be happy to provide references upon request or in response to a Request
            For Proposal.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 23 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 94 of 170




       •   Solution must have functionality to quickly and accurately audit voting
           records.

           Agreed. Dominion provides strong auditing capabilities at every phase of the election
           event. Below, we provide details regarding auditing of the system and components to
           support a secure election project, auditing of vote records to provide timely election
           night returns, and post-election audit services to ensure transparency and accuracy of
           the election.

           System Audit
           The tabulator Audit trail file is stored on the Compact Flash memory card, and
           contains a chronological list of all messages generated by tabulator software. All
           audit record entries include a date and a time stamp. This file is encrypted and
           digitally signed to protect its integrity.

           During the final results tally audit activity, the automated audit log of each optical
           scanner is input into the EMS Results Tally and Reporting system for a consolidated
           record.

           This tabulator Audit trail file will include:

           •   System startup messages (recorded by Application Loader).

           •   System self-diagnostic messages (module initializations, security verifications).

           •   All administrator operations (messages include “security key” id names).

           •   All ballots cast, rejected and diverted.

           •   All voter notifications (undervotes, overvotes).

           •   All system errors (paper jams, power failures, hardware failures, data errors,
               etc.).

           •   Source and disposition of system interrupts resulting in entry into exception
               handling routines.

           •   All messages generated by exception handlers.

           •   Notification of system login or access errors, file access errors, and physical
               violations of security as they occur, and a summary record of these events after
               processing.

           •   Non-critical status messages that are generated by the machine’s data quality
               monitor or by software and hardware condition monitors.


           All audit logs are digitally signed. If there is tampering of the audit data or logs, this
           is detected by the operating unit. The unit reports “Election file mismatch’ and will
           not operate since modifying the audit files can only indicate malicious usage.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 24 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 95 of 170




           Every action, event, and operation that occurs on ImageCast tabulators is
           permanently logged to an audit log file that exists on both memory cards. Every
           event and operation that occurs on the election management system is kept on the
           election project audit within the EMS Database. This file is signed and encrypted.

           Audit logs are available to operators at all times. On the optical scanners, these can
           be accessed from the Administration menu, and printed. In EMS, a directory of audit
           files is accessed in the graphical user interface, and can be printed. Operators with
           Administration privileges can access these files at any time.

           Audit log records cannot be deleted nor modified. Users with proper authorization
           levels can generate and view the audit report. Audit reports cannot be deleted.

           Ballot Audit Review

           Dominion has developed a Ballot Audit and Review system to assist election officials
           in performing election canvasses and risk-limiting audits. This tool will be capable
           of sorting and filtering images of ballots by ballot style, precinct, polling location,
           contest and candidate, for the purposes of a recount or post-election audit. Officials
           can review all the digital ballot images in an election, or a subset of ballots based on
           the chosen filtering conditions.

           This tool will provide an efficient and user-friendly interface for reviewing ballot
           images and associated results, as well as providing a framework to support a variety
           of auditing methodologies.

           This tool allows multiple officials to access digital ballot images with their Digital
           Ballot AuditMark marks, digital Cast Vote Records, and related review notes.
           Filtering options enables the creation of ballot review subsets for specific audit
           reviews. This tool resides in a secure post-election environment that is separate from
           EMS.

           Officials can create ballot review sets by filtering for any given audit scenario
           including specific requests from Election Committees and other internal and external
           parties. Users may make notes to individual ballots and ballot review sets to aid in
           follow-on reviews and audit discussions. Administrators may create and assign a
           ballot review set to a specific official. Upon reviewing each ballot, officials may add
           a note, mark it for additional review, or mark it as complete. Ballots within a ballot
           review set may be sorted against these attributes as desired.

           Efficiency is realized through filtering and sorting capabilities. Officials may select
           specific filter criteria including District, Precinct, Precinct Split, Contest, Candidate,
           Tabulator, Outstack Conditions, Mark Fill Percentage, Adjudicated, Ballot Type, and
           or Ballot ID.

           Flexibility is realized through user-friendly screen designs to aid in the rapid
           selection of filters and their choices in both large and small data set scenarios.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 25 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 96 of 170



           Furthermore, the Administrator may choose to distribute a large ballot review set
           across multiple users to speed the process.

           The Cast Vote Record, (CVR) export, in JSON format, includes the highest degree of
           granularity, detailing up to each mark read by the system.

           The ImageCast Ballot Audit and Review module will allow election officials to
           perform very intricate filtering and searches on the universe of ballots. Including
           loading sets of ballots, precincts, ballot styles, districts to be retrieved. The system
           will allow the election officials to read the output of any system that generates
           random sampling of ballots.

           This process will generate ballot sets that can be reviewed by multiple parties. The
           ballot set will contain the ballot images with all the auditmarks, and the cast vote
           record for each ballot.

           Post-election Risk Limiting Audit Capabilities
           Democracy Suite at its core produces all necessary data for the State to perform Risk
           Limiting Audits. A Risk Limiting Audit presumes that the voting system is incorrect
           and customizes an audit package based on the acceptable risk limits and determines
           the proper number of ballots for review as an acceptable audit sampling.

           Dominion is very proud to have assisted 58 of 64 Colorado counties that utilize
           Democracy Suite in the first ever statewide Risk Limiting Audit. To fulfill each
           Colorado county’s obligation to perform a Risk Limiting Audit, Dominion prepared
           an export of ballot images, cast vote records, and all data necessary for the ballot
           manifest, which were integrated with a third party open source module.

       •   Solution must support overlapping and concurrent elections.

           Agreed. The Democracy Suite EMS and supporting hardware can store more than
           10,000 ballot styles for any given election. Upon checking in at the polling place or
           vote center, an activation card is issued to the voter to insert into the applicable
           voting machine. The activation card accesses and displays the proper ballot and
           contests specific to the voter. So overlapping and concurrent contests are properly
           displayed based on the voter registration information.

       •   Solution must have write-in candidate capability.

           Agreed. Whether voting on an ImageCast X, ImageCast Evolution, or using a paper
           ballot, the Democracy Suite EMS allows for defining the number of allowable
           choices for each office, contest, measure, and for special voting options such as
           write-in candidates. write-in contests are available.

           Write in candidates processed on an ImageCast X or ImageCast Evolution prompts a
           touchscreen keyboard to appear, allowing the voter to type in the name of their
           preferred write in candidate. Paper ballots also support write-in candidate capability
           for any contest deemed appropriate during the election definition phase. Additionally,



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 26 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 97 of 170



            ballots with write-in candidates can be set as an outstack condition during scanning to
            require additional scrutiny prior to tabulation.

        •   Solution must incorporate encryption and digital signatures as security
            measures.

            Agreed. The proposed solution provides a layered and comprehensive set of security
            controls for the end-to-end online voting process, including pre-voting (election
            definition), voting (online voting/ballot marking), and post-voting (results processing,
            reporting and publishing). Security controls include physical security mechanisms
            (secure data centers), access control (role-based access control and user
            authentication with real-time audit records), data confidentiality (encryption using
            NIST verified algorithms such as AES256) as well as data integrity (digital
            signatures and certificates using NIST verified algorithms such as RSA and
            SHA256).

            Data Protection: Data files (XML and log files) are digitally signed and encrypted
            when stored. Any data files (XML and log files or other data) utilize SSL or SFTP
            secure channels for data communication.

            Dominion has vendor-managed backup procedures and processes in place to protect
            against data loss. The system is supported by a fully- redundant network and
            application architecture with no single point of failure. The system was specifically
            designed to span multiple data centers, on multiple servers with proactive network
            security devices powered by industry leaders. These separate data centers employ
            multiple redundant power supplies including backup generators.

            Multiple redundancies ensure our clients the confidence that their voting solution will
            be available throughout the voting period, regardless of load, heavy usage, or
            potential power outages. For any network type failures Dominion incorporates
            multiple static IP addresses, load balancers, etc.

            Audit Log: The application contains an Audit Log section, where all administrative
            access, and what actions were taken by individual administrative users, are recorded.
            Each audit entry is date and time stamped, and displays the ID of the administrative
            user, the action taken, as well as a description of the individual action. Clicking the
            Date Time label or the User label will change the sort order of the audit log display.
            The audit log is a permanent record of all system actions and cannot be deleted or
            reset by the election officials.

7)      Describe how your proposed solution provides unofficial results on
        Election Night at the polling place.

        In Democracy Suite RTR (Results, Tally, and Reporting) we offer multiple ways of
        exporting data.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 27 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 98 of 170



        The Results Tally and Reporting module of the Democracy Suite EMS produces fast,
        versatile and easy customizable reports from data available in the election project. The
        Results Tally and Reporting module of the Democracy Suite EMS uses SQL Server
        Reporting Services to produce the following standard reports:

        •   Election Summary Report
        •   Statement of Votes Cast (precinct-level results)
        •   Cards Cast Report

        All these reports can be exported to PDF, Microsoft Word, Microsoft Excel, and
        Microsoft PowerPoint.

        These three reports allow filtering by Polling Location, Tabulator and Counting Group.
        Election Summary and SOVC reports can be customized to include a number of statistics
        including: Times Cast, Undervotes, Overvotes, Total Votes, Counting Group breakdown,
        Write-ins, Percentage by ballots cast or by votes cast, sorting of candidates by global
        order or by votes received. Filters by contest, precincts or districts can be applied. Report
        titles can be modified to indicate unofficial or canvass results. Report profiles can be
        saved, loaded and exported between election projects.

        Additional reports include:

        •   Results per precinct (simplified precinct-level report)
        •   Contest overview data (simplified summary report)
        •   Located Scanned Ballots
        •   Results per Tabulator
        •   Canvass
        •   Write-ins per Tabulator
        •   Registration and Turnout
        •   Contests on Margin
        •   Tabulator Status
        •   Ballots Cast Per ballot Style
        •   Ballots Cast Per Tabulator

        All these reports can be generated at the same time that scanning and adjudication is
        happening, without affecting performance or accuracy. Additionally, reports can be
        customized. Headers can be customized to include “official” or “non-official” wording,
        or other desired wording.

8)      Describe how your proposed solution transfers data collected from Ballot
        Marking Devices, Digital Scanners, High Speed Scanners, and Tabulators
        to the Election Management System and vice versa.

        a) Include a description of the essential peripherals that are used in the
           data transfer process (i.e. flash drives, memory cards, and other items
           that will have to be replaced periodically). Are these items proprietary




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 28 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 99 of 170



           and are replacements purchased directly from the vendor or are they
           commercially available?

       Dominion offers several solutions for transferring results files from the ballot marking
       devices and in-precinct scanners/tabulators. Below we describe transfer methods
       including a wireless modem transfer (on a closed network), wired modem transfer (on a
       closed network), and physical transfer. Ultimately, the method of transmission will be
       determined by the State based on local, regional, and state requirements and limitations.

       Wireless Modem Transfers
       Transmission of results via modem is a very intuitive process, involving minimal input
       from a poll worker. The ImageCast Precinct can be configured to automatically transmit
       results after the polls have been closed.

       If the system recognizes the transmitted files as valid, they are automatically made
       available for tally in the Results Tally & Reporting module in the EMS. The ImageCast
       tabulators at the voting location will receive confirmation from the server that the results
       transmission was successful, or in rare cases, prompt the poll worker to retry the
       transmission. At the Elections office, election officials can view the upload status of all
       ImageCast tabulators deployed in the field from a single intuitive dashboard.

       The modem must be plugged into the unit in order to begin results transmission. The
       intuitive user interface on the tabulator informs the poll worker of the status of the
       transmission and when it is completed.

       Wire-based transmission
       The second option available is similar to the receiving stations where removable media is
       transported to regional centers for remote tally. Memory cards, with encrypted vote
       totals, are taken from the ImageCast tabulators to regional tally locations.

       At the hub, the memory cards are inserted into a card reader connected to a Results
       Transfer Manager client laptop with a secure Internet connection. The Results Transfer
       Manager will automatically upload the encrypted results files, and transmit them to the
       ImageCast Listener server, in a manner similar to results sent via modem. Once the files
       are received, they are available for loading into the Results Tally & Reporting module of
       the EMS system. The following diagram depicts the flow of data utilizing the Results
       Transfer Manager.

       Physical Transfer
       The ImageCast Evolution and ImageCast Precinct use two Compact Flash (CF) memory
       cards as their removable storage media. During ballot tabulation, ImageCast tabulators
       save the election files, ballot images and log simultaneously to both CF memory cards.
       The Primary CF card contains set of data files that defines the election, the tabulated
       results file, the ballot images, and the log file. The Administrative CF card holds a copy
       of the election results, images, and audit log. The files stored on these cards allow for
       recovery from any conditions that might cause the equipment to become inoperable. On
       the ImageCast tabulators, when an estimated 512 MB is used for the election database,
       audio files, etc. (typical), the remaining space is allocated for storing ballot images. An



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 29 of 77
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 100 of 170



         8GB memory card can hold approximately 13,500 8.5” x 20” double-sided ballots, and
         approximately 22,400 8.5” x 20” single-sided ballots. If required, a CF card with a lager
         capacity can be used.

         The ballot images are given a random ID number as their file name, and when the images
         are extracted by the Results Tally & Reporting client application, they are randomized,
         thus ensuring the ballot images are de-coupled from voter order. All results files can be
         encrypted and are digitally signed.

         The paper ballot acts as the final CVR. In case of system failure, the ballots in each ballot
         box can be rescanned on a different tabulator, on either an ImageCast Evolution,
         ImageCast Precinct or ImageCast Central.

         The process for reading and tabulating votes from the ImageCast Evolution and
         ImageCast Precinct is simple. It requires uploading the content from the encrypted
         compact flash memory cards into the Results Tally & Reporting application, from where
         the results can be validated and published, ready for reporting. The flash memory cards
         are not proprietary and can be purchased from Dominion or a third-party vendor.

9)       Does your solution include Election Night Reporting capabilities? If so,
         please describe your Election Night Reporting solution, including security
         features.

         Yes. The Democracy Suite EMS uploads the result files into the results tally module, and
         consolidated results are verified, tabulated, and published. Once the vote data is uploaded
         into the result tally module, the flow of results to the public and media can be controlled.
         RTR allows election officials to review the results before releasing them, and the system
         provides a number of reporting methods, including but not limited to Summary and
         Precinct-level (Statement of Votes Cast) result reports. In addition to the static, pre-
         defined reports found in most reporting systems, RTR’s Summary and Precinct-level
         reports use the Microsoft SQL Server Reporting Services engine to offer maximum
         flexibility to user. These reports feature a variety of configurable options and filters,
         including detailed breakdowns of provisional ballots cast, ballots cast during early voting,
         on Election Day, and by mail. Election administrators may use the default settings, or
         configure the data fields included in the reports depending on the target audience. Reports
         may be filtered by precinct, district, contest, tabulator, or voting location, to narrow in on
         specific results data of interest contained within the election database.

         The RTR module features numerous export types for compatibility with third-party web-
         based Election Night Reporting software including our own.

10)      Georgia plans to begin using the new voting system by the 2020
         Presidential Preference Primary, which was last held in March. Please
         provide an approximate timeline to implement your proposed solution.

         In an effort to ensure all customer needs are being fully considered and addressed,
         Dominion customizes implementation schedules and timelines for each client. Below we




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 30 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 101 of 170



       provide a general narrative describing the major milestones of implementation, followed
       by a sample timeline:

       Project Initiation & Kick-Off Meeting
       The designated Dominion Project Manager and the Dominion Technical Lead will meet
       with the State of Georgia to discuss and finalize the following activities:

       1. Review project governance structure, project roles and responsibilities
       2. Project Management Artifacts Review
          a. Review and adjust the following with a view to finalize immediately
             following contract signing:
                   i. Project plan activities, schedule and milestones
                  ii. Issue tracking & escalation plan
                iii. Risk mitigation plan
                 iv. Communication plan
                  v. Conflict resolution plan
       3. Training Plan finalization
          a. Review and adjust training sessions and schedule
       4. Review Architectural & Technical Specifications deliverables

       Requirements Gathering, Gap Analysis & Application Configuration
       A key phase in the initial stages of the project implementation will be a gap analysis
       performed by the Dominion team, and subsequent configuration will be developed and
       implemented.

       Through this thorough analysis, Dominion will identify if there are aspects of system
       functionality which need to be customized in order to meet the State’s statutory
       requirements. Dominion technology is used in dozens of states across the United States,
       each with its own set of particular and unique requirements. Below we describe the steps
       involved in customizing the system to the State’s environment.

       The Dominion Voting Democracy Suite Election Management System (EMS) is a highly
       configurable election system that can be adapted to meet the needs of any jurisdiction.
       Dominion will work closely with the State of Georgia to ensure that the system is
       deployed in a manner that meets all jurisdiction requirements. The following steps are
       typically required:

       Create Election Data Import Bridge
       In this series of steps, Dominion works with the IT professional responsible for the
       creation and maintenance of the EIMS database to create a bridge that allows the direct
       import of geopolitical data into the Democracy Suite EMS. This step dramatically
       increases the speed and accuracy of the creation of the election database within the
       Democracy Suite EMS. In this way, election divisions, contests, candidate names,
       propositions and other essential data need not be input twice, reducing the likelihood of
       user error.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                              Page 31 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 102 of 170



       Customization of Configurable Options
       During this stage, the State will provide final input and approval on ballot layouts, reports
       content, and the configuration of the options of the ImageCast voting terminals. This step
       takes place at the same time as the data import bridge is created and results data export
       file is created and provided to the IT system managers.

       End-to-End Test
       All Dominion systems are certified and tested to the highest standards. As a part of our
       internal quality assurance process, all systems undergo a rigorous operational test prior to
       release to the customer. This end-to-end test simulates real-election conditions and
       utilizes Election Day configurations. An election database is created, ballots are produced
       and cast on the appropriate voting systems, polls are closed, results are transmitted to the
       Results Tally & Reporting application of the Election Management System, and the State
       of Georgia reports are generated. Dominion understands that all systems must undergo a
       rigorous operational test prior to production release.

       Procurement and Delivery
       Procurement will be conducted in a manner that allows the coordination of supplies and
       consumables to be shipped directly to the State. During the procurement phase of the
       project, all of the commercial off the shelf components used in our election system are
       purchased. Dominion will deliver all required equipment to the State based on the
       timeline outlined in the project plan.

       While it would be preferable for all parties to identify final quantities of all supplies and
       consumables required for Election Day on the initial contract, provision in the project
       plan has been made to allow incremental orders to be placed following change
       management processes. The State of Georgia always has the opportunity to work with the
       Dominion Project Manager to place additional orders at any time.

       Installation & Acceptance Testing
       The State of Georgia is responsible for User Acceptance Testing, and Dominion will
       provide an onsite presence to support acceptance testing performed by the State.
       Acceptance testing involves a visual inspection of the voting platforms, successfully
       completing a series of internal diagnostics, and successfully tabulating ballots from a
       sample test election. Dominion provides documentation and training for client
       technicians, as well as warehouse set-up guidelines for inbound acceptance testing.

       Preparation for Acceptance Testing
       Dominion will provide guidelines and checklists to the State of Georgia for acceptance
       testing and coordinate dates with the staff for software installation. This includes
       assessing suitability and identifying any modifications required, identifying areas for
       each process including a secure area for inventory control, preparing necessary
       acceptance documentation, and ensuring all necessary supplies are available.

       Installation
       Dominion will configure and install all software including the operating system and
       application software and set up the solution including all hardware and connections
       provided as part of the system.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 32 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 103 of 170




       Acceptance Testing
       The State’s Acceptance Team, with support from Dominion staff, will conduct detailed
       acceptance testing of the voting equipment. This acceptance testing provides assurance of
       full product functionality and accuracy. Acceptance testing is an essential part of the
       Dominion quality assurance process and takes place on-site at the customer location.
       ImageCast X Voting Terminals - System Acceptance Testing:
       1. Physical inspection of equipment
       2. Functional testing using provided test materials

       ImageCast Central – System Acceptance Testing:
       1. Physical inspection of equipment
       2. Functional testing using provided test materials

       EMS Acceptance Testing:
       1. Utilization of the EMS system to restore or create a simple election project
       2. Creation of sample election files and ballots for in-person and ImageCast
          Central voting system
       3. Directly load sample results from voting terminals
       4. Create Election Results Reports

       Training
       Dominion will work closely with the State of Georgia to ensure that the training program
       is customized to meet your specific needs. Dominion will prepare and provide all needed
       training material, which includes training manuals, quick reference guides, website
       instructional courses, and technical reference manuals when necessary. Training and
       curriculum particular to the resources, staff, and needs of the State will be developed as
       part of the implementation meetings and materials will be provided before
       implementation for both hardware and software functions. In addition to formal training,
       our specialists will work to transfer the required knowledge and skills to relevant State
       staff, with the objective of ensuring that your staff is empowered to manage all aspects of
       the system’s availability and functionality. Dominion takes pride in our ability to transfer
       to local officials the skills necessary to conduct even complex elections with autonomy.

       Election Programming
       The creation of the election database is a critical step in the election implementation.
       Given the very limited time available between the certification of the final ballot and the
       distribution of UOCAVA / Mail ballots, it is very important that timelines are
       appropriately managed. Dominion employs an iterative approach to ballot and report
       creation, where successive rounds of proofs are provided to election officials as more
       information becomes available. Using this approach, in many cases ballots have already
       been approved by the time they are certified, maximizing the time available for pre-
       election testing and logistics.

       The following are the basic steps involved in election programming:



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                              Page 33 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 104 of 170




       Final election data provided to programming team – Final election data is provided to
       the programming team. This should be provided at the earliest possible date.
       Election Programming Quality Assurance – On completion of election programming,
       a back-up of the final data structure is transferred to the Dominion Team for verification
       and testing. The purpose of this test is to ensure that no unintended errors have impacted
       the data structure.
       Test decks generated – On completion of programming quality assurance, the test decks
       are created for use in Logic and Accuracy testing.
       Ballots and ballot audio generated and approved - On completion of programming
       quality assurance, ballots (including audio and paper ballots) are generated. Ballot proofs
       and electronic ballot image files are generated and provided to State Officials. State
       Officials carefully review each ballot. When State officials are satisfied that the ballots
       are correct, they initial each ballot, and when they are satisfied that all ballots are correct,
       they sign-off on their accuracy, and the image files are provided to the printer.
       Ballot printing and distribution – Ballot printing and distribution are the responsibility
       of the printer and the State of Georgia Officials. Dominion will provide a recommended
       ballot inspection process that should be followed to ensure that all ballots produced are of
       sufficient quality.
       Memory Media Programming – Memory media for the ImageCast X and ImageCast
       Central devices is programmed.
       Receive test ballots from printer – The receipt of test ballots is the milestone that
       triggers the beginning of L&A testing.

       Logic and Accuracy Testing
       State officials and their staff will conduct logic and accuracy testing of voting equipment,
       using processes, procedures, and support provided by Dominion. The Dominion project
       team will be available throughout the L&A process available to assist on an as required
       basis. Training for State officials on the L&A process will take place prior to Logic and
       Accuracy testing.

       Election Support
       The Dominion project team will reach an agreement with the State of Georgia on their
       specific roles during ballot scanning and Election Night. Dominion’s on-site support
       resource will have the necessary skills to assist the State to ensure the polling location
       opens in a timely fashion and that the equipment functions properly. In addition, a key
       role for the on-site support resource is to assist the State with tabulation and results
       reporting. Dominion’s active voting support strategy can be customized to meet your
       specific needs.

       Post-Election Debrief Meeting
       Within 30 days following election event, Dominion will coordinate a post-election
       debrief meeting to discuss post-election events and activities with the State of Georgia.
       The debrief meeting is an opportunity to review lessons learned from both Dominion and
       the State, evaluate success factors and areas for improvement for process enhancement in


State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                  Page 34 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 105 of 170



       future election cycles. On completion of these reviews, project documentation and the
       project plan will be revised to reflect learning from the first election.

       Below we provide a sample Project Timeline for your review:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                           Page 35 of 77
                        Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 106 of 170




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                       Page 36 of 77
                        Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 107 of 170




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                       Page 37 of 77
                        Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 108 of 170




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                       Page 38 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 109 of 170



11)    Georgia has a fairly centralized election creation process where the state
       builds the ballots for the counties. How does your election management
       system work efficiently in this state-centered model? Describe how your
       proposed solution transfers election data and ballot information created at
       a state level to local jurisdictions for execution, including security features.

       Dominion is vastly familiar with the centralized election process through our work with
       entities such as the State of Louisiana, who has been a longstanding customer. Our
       experience with Louisiana’s centralized process uniquely positions Dominion to
       implement and administer a new voting system for the State of Georgia as we have
       proven systems and experienced personnel able to support a centralized election process.
       Below we provide a high-level overview of the methods used to support a centralized
       system.

       The ImageCast voting devices are defined and configured in the Election Project and
       these parameters are passed to the voting devices via the election files on the removable
       memory media. Voting devices are automatically configured to know which ballot styles
       to accept or display to the voter, how the unit should interact with voters and where
       results files are uploaded. The poll worker only needs to follow the Election Day
       procedures established by the State, and never needs to make a decision regarding the
       voting device’s settings at the voting location.

       For the ImageCast scanners and tabulators, the election definition is taken from
       Democracy Suite EMS, using the same database that is utilized to program any in-person
       voting devices for a given election. Multiple ImageCast scanners can be programmed for
       use in an election. The ImageCast tabulator application is installed and later initialized on
       a computer attached to the central count scanner. Ballots are processed through the
       central scanner(s) in batches based on jurisdictional preferences and requirements.

12)    Describe the security features of your proposed solution including, but not
       limited to, cyber security; physical security; and data integrity verification
       and validation.

       Dominion implements security protocols that meet or exceed EAC VVSG 2005
       requirements. All of Dominion’s security protocols are designed and implemented to stay
       current with the rapidly evolving EAC security requirements set forth by various
       iterations of the VVSG.

       Dominion’s security technology is unprecedented insofar as it takes into account every
       aspect and every component of the Democracy Suite platform. This includes – but is not
       limited to – the full encryption of election projects, iButton security keys, Compact flash
       cards, election data, software applications, elections results files, and data transmission.
       In addition, Dominion developed a custom ballot authentication system built around an
       (optional) secure ballot paper stock and in-tabulator authenticators.

       Maintaining Data Integrity
       Data generated by the Democracy Suite platform is protected by the deployment of FIPS-
       approved symmetric AES and asymmetric RSA encryption. The Democracy Suite



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 39 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 110 of 170



       Election Management System uses these techniques to encrypt election files prior to their
       use on ImageCast tabulators. Once the polls have been closed, the ImageCast tabulators
       encrypt all of the results files prior to transmitting them back to EMS.

       SHA-256 hashes are used for all data integrity and verification. Should an intrusive
       process or altering of any file occur, hash values will be, in turn, altered as well. With
       that said, any presence of an intrusive process will be detected, as the hashes of any
       altered data will not match the value initially determined.

       EMS Security
       To protect any modification of software by malicious users, the Democracy Suite
       Election Management System integrates the Microsoft .NET Framework code signing
       process, within which, Dominion Voting digitally signs every executable and library
       (DLL) during the software build procedure. After the installation of Election
       Management software, only successfully verified EMS software components will be
       available for use. Digital signature verification is performed by the .NET Framework
       runtime binaries. If a malicious user tries to replace or modify any EMS executables or
       library files, the digital signature verification will fail, and the user will not be able to
       start the EMS application.

       Role-based Access Controls
       Democracy Suite integrates a role-based access control system for all software and
       hardware components. Each user accessing the system is the member of one of the
       predefined or custom-made roles. Each role has its own set of permissions, or actions that
       users of that role are allowed to perform. This access control approach provides
       authentication and authorization services and can be granular according to the
       jurisdiction’s needs and organization. Complete user and role membership management
       is integrated within the Democracy Suite EMS Election Event Designer client module.

       The Democracy Suite EMS platform implements role-based user management for
       provisioning access control mechanisms on each election project. Managing access
       control policies is integrated within the User Management activity of the EMS EED
       module. This activity is permitted only for users with administrative privileges.

       For communication channels (as well as data storage) a combination of security
       techniques for data integrity, authenticity and confidentiality is implemented. Democracy
       Suite integrates AES or RSA encryption algorithms for data confidentiality, along with
       SHA-256 and HMAC digital signatures for data signing (data authenticity and integrity).
       The system does not require external Internet connections.

       Communications
       For communication channels (as well as data storage) a combination of security
       techniques for data integrity, authenticity and confidentiality is implemented. Democracy
       Suite integrates AES or RSA encryption algorithms for data confidentiality, along with
       SHA-256 and HMAC digital signatures for data signing (data authenticity and integrity).
       The system does not require external Internet connections.

       Effective Password Management



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 40 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 111 of 170



       Proper password management requires multiple activities and controls, namely:

       •   Input data validation
       •   Data quality
       •   Utilization of one-way (hash) cryptography
       •   Computer generated passwords for greater entropy and protection from dictionary
           attacks
       •   Different password strength profiles for different user levels
       •   Utilization of hardware tokens for storing user credentials (two-level authentication
           security: something you know and something you have)
       •   User state machine (initial, active, inactive)
       •   All of these activities and controls are integrated within the Democracy Suite
           platform.

       Dominion utilizes authentication and authorization protocols that meet EAC VVSG 2005
       standards. In addition, Dominion’s solution relies on industry-standard security features
       to ensure that the correct users based on a user role or group are granted the correct
       privileges. Finally, each jurisdiction is responsible for ensuring that only authorized
       personnel have access to both the system and tools used for installation and configuration
       purposes. All back-end system, and tabulator operations are continuously and completely
       logged at all times to maintain a complete record of all election-related processes.




                              File Type to Security Algorithmic Mappings
       EMS Audit Log
       From the initial state of the election project, until the deactivation state, the EMS system
       maintains an activity log within the EMS Database. This activity log contains every
       action that any of the users have performed within the system and represents a detailed



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 41 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 112 of 170



       audit log that can be analyzed and printed in the form of an audit report. The audit record
       information cannot be modified or permanently deleted using the EMS client
       applications. It can, however, be exported for archiving purposes as part of the record
       retention policy. Keeping in mind that audit log information can contain a significant
       amount of information, it is the responsibility of the administrative user to perform
       regular archiving of the log.

       During the voting phase of the election event, ImageCast devices also keep an activity
       audit log which tracks events happening on the device itself.

13)    Describe the accessibility features of your proposed solution for voters
       with disabilities.

       The ImageCast X and Image Cast Evolution are both designed to accommodate voters of
       all abilities. Below we detail the accessibility features of each unit.

       ImageCast X Accessibility
       Designed as a voting solution for all, the ImageCast X
       configured as either a Ballot Marking Device or Electronic
       Recordable Device offers several options for voters with
       accessibility needs to vote in a private and independent
       manner. The ImageCast X offers the following user
       interfaces:

       •   Visual mode: Voter navigates their ballot using one of
           the available accessibility tools and the visual display
       •   Audio mode: Visual display can be disabled, and the
           voter uses headphones to navigate an audio ballot using
           one of the available accessibility tools
       •   Visual & audio mode: Voter navigates their ballot
           using one of the available accessibility tools, the visual
           display, and the audio ballot

       The ImageCast X BMD can present the ballot in
       audio only, or both audio and visual modes,
       depending on personal preference. Voters can
       adjust the rate and volume of their audio ballot, as
       wells as the text size and contrast of the display or
       disable the display entirely for added privacy.
       Every voter configurable option is automatically
       reset to its default value with the initiation of each
       new voting session.

       Voters can review, verify and correct their
       selections prior to printing their ballot on the
       accompanying printer, if using the BMD
       configuration, or printing on the accompanying



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                             Page 42 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 113 of 170



       VVPAT printer if using the ERD configuration. Voters are warned if they have missed,
       or undervoted a contest, and have the opportunity to go back and correct their selections.

       The ImageCast X BMD features the latest technological advances in accessible voting
       technology, providing more options for voters with accessibility needs to vote privately
       and independently.

       ImageCast Evolution Accessibility
       The ImageCast Evolution exceeds accessibility standards of the Help America Vote Act
       (HAVA) of 2002, the Americans with Disabilities Act (ADA) of 1990, the Federal
       Rehabilitation Act of 1973, the Voting Rights Act of 1965, the California Elections Code,
       and the Elections Assistance Commission’s VVSG 1.0.

       The ImageCast Evolution features several accessible voting interfaces that allow voters
       with various disabilities to effectively vote, review and cast a paper ballot privately and
       independently. Voters who choose to cast their ballot through an accessible voting
       session have the option of having their ballot presented via audio and visual presentation
       on the screen, audio only, or visual presentation only.

       The ImageCast Evolution presents the accessible voting session in a Contest-by-Contest
       mode displaying one contest after another. The contrast button allows the voter to
       display the screen image in high contrast (high contrast is a figure-to-ground ambient
       contrast ratio for text and informational graphics of at least 6:1). In Contest-by-Contest
       there are options to present the ballot in color, black and white, or white on black.

       The text or size of the image can be increased or decreased in order to provide options for
       voters with visual impairments. The audio rate and volume can also be adjusted. Every
       voter configurable option is automatically rest to its default value with the initiation of
       each new voting session. Below is a screenshot of a voter adjusting the volume and voice
       speed of the audio ballot while in Contest-by-Contest mode:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                              Page 43 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 114 of 170



       Additional Accommodations
       In addition to the touchscreen functionality,
       the ImageCast X and the ImageCast
       Evolution are compatible with a range of
       accessibility devices that voters can use to
       navigate through the ballot and make their
       selections. Both configurations are
       compatible with a hand-held controller called
       the Audio Tactile Interface (ATI), sip and
       puff device, or paddle device. It is simple for
       a poll worker to make the unit accessible –
       simply connect headphones and the Audio
       Tactile Interface (ATI).

       The Audio Tactile Interface (ATI) is the handheld device that is used by a voter during
       an Accessible Voting Session to navigate through and make selections to their ballot.

       The ATI:

       •   Has raised keys that are identifiable tactilely without
           activation (i.e. raised buttons of 
           different shapes and colors, large or Braille numbers
           and letters)
       •   Can be operated with one hand
       •   Includes a 3.5 mm headphone jack
       •   Includes a T-Coil coupling
       •   Has a T4 rating for interference
       •   Uses light pressure switches
       •   Can be equipped with a pneumatic switch, also known as a sip and puff device, or a
           set of paddles.

14)    Have any third party groups vetted the accessibility and/or security
       features of your proposed solution? If so, please provide their
       assessments.

       Yes. Dominion Voting works with accessibility experts and security experts as we are
       always seeking input from voters on ways to make our technology universally-inclusive,
       easy to use, and secure. Dominion Voting regularly consults with accessibility
       community stakeholders in the ongoing development of company products, including a
       longtime collaboration with the National Federation of the Blind (NFB). In fact, a
       Dominion Voting team conducted a demo of the ImageCast X system at NFB’s national
       headquarters in May 2018, with overall positive reviews and feedback. Additional
       examples are included below:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                          Page 44 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 115 of 170




       Accessibility Experts

       ImageCast X Usability Test Report
       A usability test of the ImageCast X was conducted between July 27th and August 25th,
       2016 in the Dominion offices and the Atlantis Community Center facility. The purpose
       of this test was to fulfill the requirements of the Voluntary Voting System Guidelines
       (VVSG) 1.0.

       Testing took place in a simulated polling place with a registration desk, voting booths
       with the ImageCast X voting system, external printer, and accessibility peripherals. This
       configuration was set up at the Dominion offices in Denver, CO, and at the Atlantis
       Community Center in Denver, CO.

       The results summary is below:




       After the user completed testing on the ImageCast X system, a post-session interview was
       conducted. The facilitator asked the user for insight on what problems they encountered,
       improvements they would make, whether they would use the system if available in the
       next election, if they had confidence in their vote being recorded accurately.




       Accessibility, Usability, and Privacy Test Report
       One of our trusted voting system certification laboratories, SLI, ran a compliance test
       report as a summary of the certification testing efforts for our Democracy Suite system in
       2017.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 45 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 116 of 170




       Five volunteers were used to evaluate each device. Their physical concerns were varied,
       primarily by differing levels of fine motor control abilities. One volunteer had sight
       issues, which differed significantly from the others. Volunteer One was in a motorized
       wheel chair with movable desktop and had significant fine motor skill impediments.
       Volunteer Two was blind, but otherwise fully functioning. Volunteer Three was in a
       wheelchair, had no use of left arm, and pretty good coordination with right arm.
       Volunteer Four was in a wheelchair with near normal fine motor skills. Volunteer Five
       was in a motorized wheelchair, had some fine motor control impairment, but was able to
       use the touchscreen.

       The sessions were a free form, ad-hoc test where the volunteer was able to vote a ballot in
       any manner that they chose. The volunteer provided feedback both in real-time as they
       were voting, as well as completing a survey after the ballot had been cast. Additionally,
       observations were made as each volunteer navigated their way through the process.

       Michigan ADA Sessions
       Working with the Michigan Bureau of Elections we facilitated a number of meetings and
       usability sessions to collect feedback on our ImageCast X product from December of
       2017 to May of 2018. These sessions included advocates from the National Federation of
       the Blind, Michigan Protection and Advocacy Service, The Disability Network, and
       United Cerebral Palsy of Michigan as well as researchers from Michigan State
       University.

       During the usability sessions, participants were given the opportunity to vote in mock
       elections using the ImageCast X and provide detailed feedback on how the products can
       be further developed to improve its accessibility. Many of these issues were
       communicated directly to our development team while others were documented for
       further exploration and inclusion in future releases.

       Canadian National Institute for the Blind (CNIB)
       By communicating with technical support staff and with institute members we are
       constantly working to get a better understanding of the latest technologies for vision-
       based accessibility and improve the usability of our products for all users.

       In July and August of 2018, we worked with the CNIB to conduct a full usability study
       on our Internet Voting product to get a better understanding of how audio cues and
       button-based navigation can play a role in the voting process.

       The ALS Society of Canada and March of Dimes
       In June of 2018 we conducted a study with the help of the ALS Society of Canada and
       the March of Dimes to see how voters with limited mobility vote on the ImageCast X
       using a Sip and Puff device.

       Security Experts
       Dominions products undergo rigorous security testing as part of our EAC certification
       process and receive feedback through Voting System Testing Laboratories such as Pro
       V&V.



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                 Page 46 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 117 of 170




       Other examples of third party security providers that provide feedback to Dominion
       includes:

       SyleCop for Static Application Security Testing (SAST) – Dominion utilizes
       StyleCop, a static code analysis tool that helps ensure consistently formatted code is
       written in accordance with predefined rules. StyleCop analysis is performed daily
       (assessment is run against nightly builds), so the code is always up to date.

       Kali Linux for Penetration Testing - Penetration testing performed with Kali Linux
       distribution includes: Port and Service Scans (Testing whether system remains stable
       during TCP port scan, UDP port scan, IP protocol scan, OS fingerprinting), Flooding
       Attacks (Testing whether system remains stable and retains administration during
       flooding attacks, SYN flood attacks, ESTABLISHED flood attacks, LAST_ACK flood
       attacks, FIN_WAIT flood attacks, CLOSING flood attacks), Fuzzing tests (Testing
       whether system endures malformed IPv4, IPv6, TCP, UDP, Ethernet, ICMP, ICMPv6
       packets), Vulnerability scan (running Nessus scans), Credential strength testing
       (password cracking, searching for default credentials).

       Nessus for Operating System Security Analysis – Benchmark compliance is achieved
       through application of Dominion Voting’s custom scripts that harden the OS, which is
       then verified through Nessus scanning. Nessus is also used for scanning the system
       against all publicly known vulnerabilities. Found vulnerabilities are then patched using
       appropriate vendor and OS updates (since the system is not connected to the internet, the
       procedure for applying them is thoroughly documented and is performed manually by
       trained personnel).

15)    Does your solution include decommissioning of the existing voting system,
       including DREs, optical scanners, and electronic pollbooks? If so, please
       describe your decommissioning process.

       Dominion works with more than 1,300 jurisdictions throughout North America, including
       some clients that required decommissioning of the existing election systems and
       associated hardware components. Generally, decommissioning plans are developed
       during contract negotiations in order to capture the full scope of the work involved and
       account for any local, state or federal requirements (recycling, potential hazardous
       material handling, and proper disposal, among others).

       As Dominion takes pride in our outstanding record of customer service, we would look
       forward to working with the state and individual jurisdictions to customize a plan that
       fully meets your needs.

16)    Provide a recommendation for a training plan that takes into account all
       stakeholders, which includes – at the minimum – state users, county
       election officials, voters, and voter advocacy entities.

       Dominion will work closely with the State to ensure that the training program is
       customized to meet your specific needs. Dominion will prepare and provide all needed



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                Page 47 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 118 of 170



       training material, which includes training manuals, quick reference guides, presentations,
       and technical reference manuals when necessary. Training and curriculum particular to
       the resources, staff and needs of the State will be developed as part of the implementation
       meetings and materials will be provided before implementation for both hardware and
       software functions.

       Dominion takes pride in our ability to transfer to local officials the skills necessary to
       conduct even complex elections with autonomy. Our suite of training materials (quick
       reference guides, checklists, procedures, manuals, and user guides) all contribute to
       ensuring that the State election team is knowledgeable and comfortable with all aspects
       of the system and election equipment.

       Poll Worker Training
       Past implementations have proven that it is very important for all poll workers to have a
       chance to operate the machines “hands-on” in class, or at least participate in small group
       and review. This allows poll workers to operate equipment while others observe and ask
       questions. Dominion will assist the State in integrating the new voting system training
       into its current poll worker training program’s content and format, as well as in the
       development of training materials, and providing “train the trainers” courses. The goal is
       to assist in training poll workers to comfortably and confidently operate voting machines
       and readily provide voters with simple instructions and assistance in voting on them.

       Voter Outreach Support
       Dominion’s Voter Outreach and Voter Education Program is a customizable service.
       Dominion would work alongside the State in creating a scope of work tailored to the
       specific needs and desires of the jurisdiction regarding staff training, voter outreach and
       education. This collaborative approach to voter outreach could involve any form of voter
       outreach and educational items that the State believes would aid in familiarization of
       voters with Dominion’s voting technology, such as public demonstrations of the new
       voting equipment, a mock election, and how-to-vote resources that can be distributed on
       the State website.

       Sample Curriculum
       Our standard course offerings include the fill range of Democracy Suite classes. Training
       agendas and curriculum particular to the resources, staff and needs of the State will be
       developed as part of the implementation meetings.

       ImageCast X Training
       This course provides an introduction to the Dominion Voting ImageCast X, used for in-
       person and accessible voting. Topics include:
           • Setup of equipment
           • Security, including safeguards to prevent and detect tampering
           • Opening polls
           • Processing ballots
           • Accessible voting
           • Closing polls
           • Transmission of election results



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                              Page 48 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 119 of 170




           •   Acceptance testing
           •   Troubleshooting – Identifying and resolving basic problems (issues that do not
               require a service call)
           •   Performing Logic and Accuracy testing

       ImageCast Central Training
       This course provides an introduction to the ImageCast Central. Topics include:
           • Setup of the equipment
           • Security, including safeguards to prevent and detect tampering
           • Opening polls
           • Processing and scanning ballots
           • Adjudicating ballots that may require review
           • Processing write-in votes
           • Closing polls
           • Acceptance testing
           • Troubleshooting – Identifying and resolving basic problems (issues that do not
               require a service call)
           • Performing Logic and Accuracy testing

       Democracy Suite EMS Training
       This course introduces election programming and results accumulation and reporting in
       Democracy Suite EMS. Topics include:
           • System security
           • Creating and editing geopolitical data
           • Creating and editing offices and contests
           • Adding choices
           • Creating and editing ballot layout
           • Programming the ImageCast DREs and the ImageCast Central
           • Creating audio files for accessible voting
           • Records preservation
           • Tabulating and consolidating results
           • Election night reporting (Results Tally and Reporting, including customizing and
               printing reports)
           • Checks and balances – methods for ensuring the accuracy of precinct results
           • Full understanding of audit procedures
           • Any special requirements related to conducting a recount

17)    Describe the useable components (e.g., paper and ink) of your voting
       system solution, including whether or not they are proprietary, have to be
       replaced by purchasing directly from you, or can be replaced commercially
       through other vendors?

       Below, we provide the consumable products associated with the solutions available to
       Georgia:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                          Page 49 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 120 of 170




                Product Category                                Product Name
             Proposed Configuration                      ImageCast X withVVPAT
            EMS Workstations            ICX Smart Card Reader/Writer - ACR38U
            ImageCast X - VVPAT         ICX VVPAT Paper Roll (245')
            ImageCast X                 ICX Prime Poll Worker Smart Card - Customized
            ImageCast X                 ICX Prime Technician Smart Card - Customized
            ImageCast X                 ICX Prime Voter Smart Card - Customized
            ImageCast X                 USB Flash Drive - 16GB - 3.0
            ImageCast X                 USB Flash Drive - 8GB - 3.0
            ImageCast X                 ICX Prime Backup Battery
            ImageCast X                 ICX Prime Dual Bay Battery Charger
            Audio Tactile Interface     Cable - USB Audio to ICX ATI - 6'
            Other                       Headphone Covers
            Other                       Seals - Pull Up/Pull Tight - Plastic - Red (25/pkg)


                Product Category                                Product Name
             Proposed Configuration              ImageCast X with Ballot Marking Device
            EMS Workstations            ICX Smart Card Reader/Writer - ACR38U
            ImageCast X                 ICX Prime Poll Worker Smart Card - Customized
            ImageCast X                 ICX Prime Technician Smart Card - Customized
            ImageCast X                 ICX Prime Voter Smart Card - Customized
            ImageCast X                 USB Flash Drive - 16GB - 3.0
            ImageCast X                 USB Flash Drive - 8GB - 3.0
            ImageCast X - BMD Printer   HP 402DNE - LaserJet Pro Printer
            Audio Tactile Interface     Cable - USB Audio to ICX ATI - 6'
            Other                       Headphone Covers
            Other                       Seals - Pull Up/Pull Tight - Plastic - Red (25/pkg)


                Product Category                                Product Name
             Proposed Configuration                  ImageCast Precinct and Evolution




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                         Page 50 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 121 of 170




            EMS Workstations                IButton Reader/Writer
            EMS Workstations                ICP CompactFlash Card Reader/Writer
            ImageCast Precinct
                                            Ibutton Security Key
            ImageCast Evolution
            ImageCast Precinct
                                            CompactFlash Memory Card - 16GB
            ImageCast Evolution
            ImageCast Precinct
                                            Paper Roll
            ImageCast Evolution
            ImageCast Precinct
                                            External Power Supply
            ImageCast Evolution
            Audio Tactile Interface         Cable - USB Audio to ICX ATI - 6'
            Other                           Headphone Covers
            Other                           Seals - Pull Up/Pull Tight - Plastic - Red (25/pkg)

       ImageCast Central
       The ImageCast Central and the accompanying G1130 scanner requires minimal
       consumables. The ICC Scanner Roller Kit is usually replaced after scanning 450,000
       pages. These consumables are not proprietary equipment, and Dominion will work with
       the State and election officials to provide the needed consumables as they require.

       Cleaning products used for general upkeep like Microfiber cleaning cloths, Isopropyl
       alcohol, and distilled water are recommended for general maintenance and upkeep.

       Replacement Materials
       Generally, components and consumables are sold in pre-packages kits for use with the
       system. Dominion cannot assume responsibility for items procured by a customer that
       have not been tested with our systems. Paper rolls, smart cards, USB flash drives,
       printers, etc. are all tested rigorously by our engineering teams prior to qualification.
       Many items do not get qualified as they do not meet our minimum standards or simply
       fail our testing. Therefore, we work closely with the customers to assure the proper
       certified material and components are being used with the system.

18)    For budget purposes, please provide an estimated cost of your voting
       system solution, including hardware, software, any necessary licenses,
       peripherals, implementation, decommissioning, training, and maintenance.

       For budgeting purposes, we have attached list pricing for the State of Georgia as a
       separate attachment. We would be happy to discuss volume pricing and discounted
       pricing scenarios in response to a Request For Proposal (RFP) or upon request.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 51 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 122 of 170



19)    For budget purposes, is there an option to lease equipment instead of
       purchasing equipment under your solution? If so, please provide an
       estimated cost to lease each component of your proposed solution where
       leasing is an option and whether the leasing option includes updates to the
       software.

       Yes. Dominion offers a Managed Service Agreement, which acts as a lease option. This
       option takes all of the applicable hardware, software, setup, implementation services,
       training, election setup and licensing and warranties and combines the costs into one
       single annual payment to be paid over a period of six to eight years. Any preventative
       maintenance will be included over the term of the contract. Under the MSA agreement,
       Dominion will fix or replace components of the system that are not third party or
       consumables. The pricing is calculated based on the final equipment and services that are
       chosen by the jurisdiction. Once complete, a finance charge is applied to the yearly MSA
       depending on the terms of the agreement.

20)    Describe your proposed solution’s technical support system, including, but
       not limited to, how it will provide ongoing software and system support;
       conduct regular source code auditing and analysis; escrow source code;
       share information about source code auditing and reviews; share
       information about each code release; and offer security enhancements for
       state and local officials.

       Dominion’s service organization will provide the coordination and supervision of all
       activities required to transition the State of Georgia to their new Democracy Suite voting
       system. We employ technical and project management experts who have demonstrated
       unmatched skill in understanding what resources are necessary to complete a project
       seamlessly and on time.

       The proposed project team not only has considerable experience in providing ongoing
       support to election officials, but also in implementing new voting technology.
       Dominion has designed the State’s project plan based on the following:

           •   Dominion’s project plan adheres to PMBOK standards and practices.
           •   It is developed using MS Project and will be monitored/reported by using MS
               Project.
           •   It is designed with key milestones (clear tangible deliverables) that are designed
               to mitigate risk to the extent possible.
           •   Tasks are focused on accomplishing specific objectives.
           •   The work breakdown structure is a logical progression of steps, activities, and
               subtasks that lead to tangible work products or deliverables.
           •   Our plan provides the State with visibility into the tasks and schedule.
           •   Our plan incorporates Dominion’s prior experience in successfully implementing
               voting systems.
           •   Our plan is achievable and will be used to manage to specific deadlines.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                             Page 52 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 123 of 170



       The draft project plan, for which we provide context and details below, is based on our
       current understanding of project requirements from the RFP and draws on our extensive,
       real world implementation experience.

       This proposed project plan and schedule will be adjusted in consultation with key
       stakeholders to establish the “baseline” plan during Project Kick-Off.

       Dominion subscribes to a collaborative management approach, where transparency,
       frankness, and open communications drive our projects. The key aspects to effective
       management are planning and control processes. We have developed tried and true
       project plans, and we implement controls to maintain schedules and quality standards.

       Issue Management
       During the normal course of implementing Democracy Suite, Dominion staff work
       closely with the State of Georgia to establish clear and timely information flow. This
       communication helps reduce the number of problems and support early identification of
       problems that require resolution through the Problem Escalation Procedure (PEP). Key to
       a successful PEP is ownership of a problem. The following table outlines the problem
       escalation path for the Dominion Team:




       Another key to the PEP is process. The Dominion Project Manager will follow a well-
       defined and proven PEP process as depicted at a high level in the diagram below,
       Problem Escalation Procedure, and further detailed in this section.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                           Page 53 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 124 of 170




       Problem Identification – Customer identifies a problem or Dominion proactively
       identifies a problem

       Problem Analysis – The Dominion Project Manager will work with the individual that
       identified the problem and Dominion staff to clearly characterize the problem, assess its
       severity, and determine the initial mitigation strategy. The Dominion Project Manager
       will describe, document, and log the problem in Dominion’s automated ticket tracking
       system. Dominion’s Project Manager will notify appropriate Customer/Dominion staff of
       the severity and risk of the problem.

       Problem Mitigation Plan (PMP) – The Dominion Project Manager will lead a team to
       identify the root cause, determine/document mitigation approach, and identify the
       management point of contact for approval of the PMP.

       Mitigation Execution – The team will execute the approved PMP and track resolution.

       Problem Escalation Process – The Dominion Project Manager will escalate a problem
       based on exceeding the resolution target time or at her discretion.

       Problem Close-out – The Dominion Project Manager will document the problem,
       resolution, and lessons learned. The Dominion Project Manager will also close out the
       item on the problem and risk logs.

       Since problems do not always occur during normal business hours, key stakeholders will
       be provided with emergency contact information that will allow our team to be reached
       outside of business hours (e.g., evenings, weekends, holidays, etc.) and on an emergency
       basis.

       Our business is built on supporting customers to conduct elections in an error-free,
       secure, and on-time manner. The Dominion team designed our PEP to ensure that we
       address problems before they have an impact on an election. Higher-levels of service are




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                           Page 54 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 125 of 170



       provided during critical periods. Escalation always takes place to a position with a wider
       and deeper pool of resources at his/her disposal, to assist in resolution.

       Risk Management
       In addition to the project schedule, project risk management strategy and contingency
       planning is a critical component of the overall implementation plan. Best practice in risk
       management involves reducing the likelihood of occurrence of an undesired event and
       mitigating its effects once the event has occurred.

       An early project activity is to work with stakeholders to understand potential risks and to
       put in place measures to reduce the probability and potential impact of these uncertain
       events. This activity includes a methodical process by which the project team identifies,
       scores, and ranks the various risks. High, medium and low potential risks are identified,
       along with the action to be taken for each identified risk. This is to reduce the probability
       of a negative occurrence or reduce its impact on the project. A comprehensive, Georgia-
       specific risk management plan will be developed and finalized during the initial phases of
       the implementation.

       A sample listing of risks is provided below:

             Risk                                     Mitigation Strategies
                                          Prevention                           Recovery
                                    -   Ballot proofing before          -    Dominion technicians
  Election Management
                                        ballots sent to printer              are available
      - Errors in
                                    -   Comprehensive pre-                   throughout the
          programming that
                                        election Logic and                   election period to
          are not uncovered
                                        Accuracy testing of                  respond to any
          prior to ballot
                                        each voting machine                  unforeseen challenges
          scanning
                                        using the Election                   that could arise
                                        Project database.
                                        Results reported by
                                        each voting machine are
                                        compared with a known
                                        result to ensure
                                        accuracy.
                                    -   The Dominion Voting             -    Dominion Voting’s
  Election Reporting
                                        project manager works                election management
      - Reports produced
                                        closely with officials               system provides a
          do not meet
                                        from the beginning of                high degree of
          requirements
                                        the project to ensure                flexibility in the
                                        that report templates                design of election
                                        meet their needs                     reports. When called
                                    -   Reports are produced                 upon Dominion
                                        following the pre-                   engineers are able to
                                        election test, providing             customize reports
                                        officials with the                   extremely quickly
                                        opportunity to see                   ensuring the all



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                               Page 55 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 126 of 170




                                     reports of actual               requirements are met.
                                     election results
                                 -   Dominion maintains an       -   Preferred supplier
  Logistics
                                     inventory of critical           arrangements allow
     - Delays in supply
                                     components in its               immediate response
          chain result in a
                                     warehouses around the           for most items.
          short-fall of
                                     country.                    -   Dominion maintains
          critical election
                                 -   Dominion Voting’s               strong relationships
          supplies prior to
                                     rigorous and proven             with major shipping
          the election
                                     project management              firms, including a
                                     systems identify long           strategic partnership
                                     lead-time items early in        with one major
                                     the project, and project        independent shipper.
                                     managers work with              In the past we have
                                     officials to arrange            successfully used
                                     delivery                        these relationships to
                                                                     assist customers.
                                 -   Dominion Voting works       -   Where appropriate the
  Ballot
                                     to qualify printers prior       Dominion Voting
      - Poor ballot
                                     to the election event.          project manager
         printing results in
                                     This includes more than         works with officials
         rejected ballots
                                     just auditing their             to implement best
                                     product quality - it            practices in ballot
                                     includes training on            handling and
                                     required ballot                 distribution, to ensure
                                     parameters and ballot           robust, expedient
                                     auditing procedures.            processes – in line
                                 -   Qualification of paper          with State or County
                                     vendors. The success of         regulations –so that
                                     an optically tabulated          failed ballots do not
                                     election depends on the         disrupt the election.
                                     consistency of the
                                     ballots. Dominion has
                                     worked with paper
                                     suppliers to develop
                                     product specifications
                                     that provide the optimal
                                     paper for use in
                                     elections.
                                 -   Dominion Voting
                                     conducts pre-election
                                     testing and the test
                                     election on ballots
                                     produced by the official
                                     ballot printer. This
                                     provides additional
                                     confidence that the
                                     Election Day ballots



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                       Page 56 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 127 of 170




                                       will meet necessary
                                       specifications.
                                   -   Ongoing collaboration          -   Defined during
  Unidentified Risks
                                       with key stakeholders              ongoing risk
                                       and within project team            management
                                       to update and revise risk          processes
                                       register and to put in
                                       place risk mitigation
                                       strategies

       Schedule Management
       Dominion has provided a preliminary project plan (schedule) as part of this RFP. This
       proposed project plan and schedule will be adjusted in consultation with key stakeholders
       to establish the “baseline” plan during Project Kick-Off. The project plan will be
       reviewed by the project team and any resources assigned to project tasks. The project
       team and resources must agree to the proposed assignments, durations, and schedule.

       One of the essential components of our project management approach is regularly
       scheduled meetings with all key stakeholders from both the Dominion and the State’s
       project teams. Dominion has proposed biweekly meetings, which can be held in person or
       on the phone depending on the project phase, which would include, at minimum,
       Dominion’s Project Manager, Technical Lead and Executive Sponsor. These regular
       meetings are an opportunity to review progress against the baseline plan, and discuss any
       necessary changes, as well as address any other project issues or questions.

       The biweekly meetings are in addition to ongoing weekly communication between the
       Dominion Project Manager and counterparts in the State, as required by the RFP. The
       biweekly meetings bring together key decision makers and stakeholders to ensure
       adequate project oversight.

       Quality Assurance
       Dominion uses multi-level quality assurance and quality control processes to ensure that
       all elements of our integrated voting system perform properly with every use.
       Independent reviews of election databases are conducted prior to Logic & Accuracy
       testing. We recommend (and support our customers to conduct) precinct-level pre-
       election testing.

       In addition to this rigorous testing and control program designed to catch errors,
       Dominion Voting regularly conducts process audits of our acceptance testing, and
       programming processes to ensure that errors never occur.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 57 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 128 of 170




   Testing Phase Summary


                 EAC Certification
                             State Requirements Testing
                                       State Certification Testing
                                                  Acceptance
                                                  Testing
                                                             End-to-End test
                                                                        Pre-LAT


      Development and Federal Verification
      State Verification
      Election Preparation



       Dominion Voting tests its equipment to the highest standards in the industry. Our test
       plan is multi-layered and designed to complement State tests. Key attributes of the test
       plan are as follows:

           1. EAC Certification – Dominion products are certified as EAC compliant. This is
              the highest certification standard in the industry and is your assurance that all
              products have undergone the highest level of testing.
           2. State Requirements Testing – Dominion Engineers work to configure the EAC
              certified platform to meet the State of Washington’s specific certification
              requirements.
           3. State Certification Testing – Dominion’s team works with the Secretary of
              State’s office to demonstrate compliance of the system with state requirements.
           4. Acceptance Testing – Each component of the system is tested for functionality at
              the customer site. Dominion will provide training and documentation to officials
              to assist them in undertaking this task.
           5. End-to-End test – Dominion will work with the State to conduct end-to-end
              testing. We recommend that this test is completed following EMS training on a
              project reflecting Election Day requirements. In this test, an election project is
              created, and a representative sample of tabulators is programmed. Test ballots
              with known results are prepared and cast. Results are uploaded into the election
              management system and reports generated. The results are then compared to the




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                             Page 58 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 129 of 170



              expected outcomes to verify the system is performing properly. This test is
              performed on site at the customer warehouse.
           6. Pre-Election Logic & Accuracy Testing – In advance of all elections, Dominion
              Voting recommends that Logic & Accuracy Testing of each voting system is
              tested with final Election Day ballots. This complete end-to-end test provides
              certainty that the system will perform as planned on Election Day. This test is
              performed on site at the customer warehouse.
           7. Automated Test Deck Creation – The creation of automated, comprehensive test
              decks is an optional service provided by Dominion to assist customers in
              conducting Logic & Accuracy testing. Using the Election Day database, a series
              of pre-marked ballots are generated based on a computer algorithm designed to
              provide the highest assurance of system accuracy. When scanned these decks
              create known outcomes that can be compared with tabulated results. The
              elimination of error due to mistakes in hand-marking provides a higher degree of
              confidence in test results.

       Change Control
       Once the State approves the baseline plan, changes, if any, will follow a formal change
       control process, where Dominion’s Project Manager will update the plan as required in
       consultation with counterparts from the State.

       The following steps comprise Dominion’s organization change control process for all
       projects and will be used for the implementation:

           1. Identify the need for a change (Any Stakeholder)
              Requestor will submit a completed Dominion change request form to the Project
              Manager.
           2. Log the change in the change request register (Project Manager)
              The Project Manager will maintain a log of all change requests for the duration of
              the project.
           3. Conduct an evaluation of the change (Project Manager, Project Team, Requestor)
              The Project Manager will conduct an evaluation of the impact of the change to
              cost, risk, schedule, and scope.
           4. Submit change request to Project Sponsor (Project Manager)
              The Project Manager will submit the change request and analysis to the Sponsor
              for review.
           5. Project Sponsor decision
              The Project Sponsor will evaluate and discuss the proposed change and decide
              whether it will be approved based on all submitted information
           6. Implement change (Project Manager)

       If a change is approved by the Project Sponsor, the Project Manager will update and re-
       baseline project documentation as necessary as well as ensure any changes are
       communicated to the team.

       Updates and Upgrades
       Any software changes, upgrades, modifications, updates, patches, etc. are typically
       included in upcoming full releases of the software. The State will have ongoing visibility



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                             Page 59 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 130 of 170



       as to which future version of Democracy Suite will include any Washington-specific
       upgrades or updates; Dominion will devise an upgrade plan as required with the State.

       The proposed voting system is supported by Dominion for the duration of the agreement
       with the State or individual Counties.

       Dominion is constantly working with Commercial Off The Shelf equipment providers,
       such as Canon and Dell, to ensure visibility regarding End Of Life components and
       available replacements. This is done in conjunction with managing ongoing state and
       federal certification campaigns, to ensure that Democracy Suite remains fully operational
       and available to customers. Wherever possible Dominion, strives to integrate any new
       product offerings and enhancements to the currently certified system version to prevent
       having to replace certain infrastructure components. However, major upgrades often
       require the upgrade of dell/Microsoft related equipment and software.

       Dominion understands that election officials need to ensure that the significant
       investment required to upgrade a voting system is made with confidence and peace of
       mind that the technology will keep up with changing requirements and public
       expectations. Dominion’s development team is continually working on refining existing
       products and functionality, leading to annual VVSG 2005 certification campaigns with
       the EAC, as well as state certifications where required.

21)    Describe the physical and power attributes of your Ballot Marking Devices,
       Digital Scanners & Tabulators, High Speed Scanners and Tabulators, and
       Statewide Electronic Pollbook System, including but not limited to:

       •   Dimensions;
       •   Weight;
       •   Battery backup system capabilities; and
       •   Power needs and ability to daisy chain equipment to a power source.


       Below we provide the requested attribute information for each hardware component
       associated with the solutions:




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                           Page 60 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 131 of 170




       ICX with BMD




                 ImageCast X Prime 21” Tablet         BMD Printer Specs
                          Specifications
               Manufacturer: Avalue                   Manufacturer: HP
               Model: HID-21V                         Model: Laser Printer M402DNE
               OS: Android 5.1.1.                     Power: DC 19V input
               Processor: Intel Celeron J1900         Dimensions: 8.5 “ (H) x 15” (W) x
               Power: DC 19V input                    14.06” (D)
               Weight: 19.5 lbs (including battery)   Weight: 19 lbs.
               Dimensions: 22” (H) x 13.5” (W) x
               2.9” (D)
               Battery Backup Life: 2 hour
               minimum




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                Page 61 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 132 of 170




       ICX with VVPAT




                 ImageCast X Prime 21” Tablet         VVPAT Printer Unit Specs
                          Specifications
               Manufacturer: Avalue                   Manufacturer: KFI
               Model: HID-21V                         Model: VRP3
               OS: Android 5.1.1.                     Power: DC 19V input
               Processor: Intel Celeron J1900         Weight: 6 lbs
               Power: DC 19V input                    Dimensions: 15” x 7” x 6.5”
               Weight: 19.5 lbs (including battery)
               Dimensions: 22” (H) x 13.5” (W) x
               2.9” (D)
               Battery Backup Life: 2 hour
               minimum




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                Page 62 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 133 of 170




       ImageCast Central Kit




        Includes Canon DR-G1130 scanner, Dell OptiPlex 7440 AIO computer, one
        8GB flash memory card, one i-Button (black), one i-Button Programmer with
        USB Adapter, patch cable 25', Lexar LRW400CRBNA reader.

        Dell OptiPlex 7440 AIO Computer Specs:
        Processor: Intel® Core™ i3-6100 Processor (Dual Core, 3MB, 4T, 3.7GHz,
        65W) ...
        Operating System: (Dell recommends Windows 10 Pro.)
        Monitor: 23.8" WLED Full-HD AIO Non-Touch Display.
        Memory: 1 4GB2 DDR4 at 2133MHz. ...
        Hard Drive: 2.5 inch 500GB 7200rpm Hard Disk Drive
        Approximate weight: 15.9 lbs
        Approximate Dimensions: 15.5” (W) x 22.6” (D) x 2.5” (H)


        Scanner: Canon Model DR-G1130 Specs
        Feeder Capacity: 48 mm stack or 500 sheets of 80 g/m² (20 lb bond)
        Scanning Resolution: 150 x 150 dpi, 200 x 200 dpi, 240 x 240 dpi, 300 x
        300 dpi, 400 x 400 dpi, 600 x 600 dpi
        Scanning Speed: B&W 100 ppm Portrait/130 ppm Landscape
        Power: AC 100V (50/60Hz), AC 120V (60Hz), AC220-240V (50/60Hz)
        Approximate weight: 50.3 lbs
        Approximate dimensions: 18.9” (W) x 21.1” ((D) x 12.4” (H)




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                    Page 63 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 134 of 170




       ImageCast Evolution




        Manufacturer: Dominion
        Model number: PCOS-410A
        Power: 19V AC
        Operating System: Linux
        Processor: NXP PowerPC (MPC8347EVVAJDB)
        Modem: External Multi-Tech HSPA USB Modem
        Approximate Weight: 45 lbs.
        Approximate Dimensions: 19.7” (W) x 23.4” (D) x 5.9” (H)


        The overall size of the ballot box with the lid on is 25” (W) by 38” (D) by 44”
        (H) and the weight is 85 pounds.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                          Page 64 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 135 of 170




       ImageCast Precinct




        Manufacturer: Dominion?
        Model number: PCOS-330A
        Power: 16V AC
        Operating System: Linux
        Processor: NXP ColdFire (SCF5249VM140)
        Modem: External Edeice CellGo Modem
        Approximate Weight: 14 lbs.
        Approximate Dimensions: 17” (W) x 13” (D) x 3.5” (H)


         The overall size of the ballot box with the lid on is 25” (W) by 38” (D) by
        44” (H) and the weight is 85 pounds.


22)    Describe any special storage requirements associated with the
       components of your proposed solution including climate control
       specifications and stacking restrictions.

       Democracy Suite EMS Servers and Workstations, and ImageCast
       Central

       For the EMS server and workstations, and central count system, normal office
       environmental conditions are required. This portion of the system relies on COTS
       hardware, designed for its robustness and resiliency. The City’s IT policy around server
       room management, and other environmental precautions, should be followed.

       Storage and Operating temperatures – EMS system:

       •As cool as possible
       •Maintain a storage temperature between 41 °F and 149 °F
       •Maintain an operating temperature between 41 °F and 95 °F

       Storage and operating temperatures - ImageCast Central Workstation and Canon
       Scanners:



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 65 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 136 of 170




       •As cool as possible
       •Maintain a storage and operating temperature between 50 °F and 90.5 °F
       •The humidity should be between 20% and 80% RH

       ImageCast X
       For best lifetime, follow the storage recommendations described below for the
       ImageCast X:

       •   Operating Temperature min/max: 0°C ~ 40°C
       •   Storage Temperature min/max: -20°C ~ 60°C
       •   Operating and/Storage Conditions (Relative Humidity): From 0% ~ 90% RH
           non-condensing
       •   Pack the ImageCast X tablet into its provided packaging box with foam inserts to
           provide vibration and impact protection.

       The ImageCast X units should not be stacked on top of one another for storage unless
       they are in their respective carrying cases or packaging boxes (Maximum Stack = 5
       Boxes High).

       ImageCast Precinct and ImageCast Evolution
       Storage facilities should provide protection from destructive environmental
       conditions – rain, high temperature, blowing dust, etc. Please follow the storage
       recommendations described below for the ImageCast Evolution:

       •   Operating Temperature min/max: From 41 - 104°F (5°C - 40°C)
       •   Storage Temperature min/max: From 32 - 140°F (-25°C - 60°C)
       •   Operating and/Storage Conditions (Relative Humidity): From 20% - 80% RH
           non-condensing
       •   Place the tabulator inside the re-sealable bag into the provided packaging box
           with foam inserts to provide vibration and impact protection.
       •   Store the packaged tabulator box under conditions specified.
       •   Alternatively, leave the tabulator on the Ballot Box but place the Ballot Box
           dust cover over it to keep it free from environmental elements.
       •   Store the tabulator (and Ballot Box, if applicable) in a dust-free, clean
           environment.
       •   Perform periodic charging of the back-up battery module for 12 hours every 9
           months.
       •   The tabulators should not be stacked on top of one another for storage unless they
           are in their respective carrying cases or packaging boxes (Maximum Stack
       •   = 4 Boxes High)

       For delivery to the polling location, the ImageCast tabulator units can be mounted to the
       ballot box, and peripherals can be placed inside the ballot box.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 66 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 137 of 170



23)    In what states and jurisdictions therein, has your proposed solution been
       installed?

       Dominion Voting Systems, Inc. is a company that has distinguished itself by pursuing
       excellence in customer service by implementing a technical culture focused on achieving
       the highest levels of accuracy, reliability and transparency in elections since 2003. As an
       established election provider in the United States, with a diverse customer base of 33
       states, out of which jurisdictions in 19 states have successfully implemented our
       Democracy Suite system. We are providing a snapshot of the reach and diversity of our
       experience:

       •   Clark County, Nevada was the first to deploy the ImageCast X with fully accessible
           Voter Verified Paper Audit Trail (VVPAT).
       •   Currently supporting a diverse customer base in California of 30 counties, including
           12 who have transitioned to Democracy Suite.
       •   Democracy Suite was chosen as the statewide voting system of choice in Colorado.
           The State is streamlining their processes with the ImageCast X, ImageCast Central,
           and Adjudication.
       •   The State of Michigan ranked Democracy Suite #1 out of 5 major vendors. Over 65
           counties will be implementing Democracy Suite in 2017-2018.
       •   52 counties in New York have implemented the ImageCast Precinct, the first all-in-
           one Ballot Marking Device.
       •   Louisiana experienced greater efficiency after the statewide implementation of the
           ImageCast Central in 2011.




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                             Page 67 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 138 of 170




       Below is a representative list of election jurisdictions where the Democracy Suite system
       has been deployed or is scheduled to be deployed, including the key components used
       (ImageCast Central – ICC, ImageCast Evolution – ICE, ImageCast Precinct – ICP,
       ImageCast X – ICX, Adjudication – ADJ) and the year of signed business.

       The State of Alaska
          • City and Borough of Sitka (ICP-A, 2014)
          • City of Valdez (ICP, 2015)
          • The Municipality of Anchorage (ICX, ICC, ADJ, 2017)
          • The City of Bethel (ICP, 2017)
          • The City and Borough of Ketchikan (ICP, 2017)

         The State of California
          • Del Norte County (ICE, ICC, ADJ, 2015)
          • Glenn County (ICE, ICC, ADJ, 2016)
          • Imperial County (ICE, ICC, ADJ, 2015)
          • Kern County (ICC, ADJ, 2015)
          • Napa County (ICE, ICC, ADJ, 2015)
          • Siskiyou County (ICE, ICC, ADJ, 2015)
          • Tehama County (ICE, ICC, ADJ, 2016)
          • Mono County (ICE, 2017)
          • Monterey County (ICC, 2017)
          • San Luis Obispo County (ICX, ICC, ADJ 2018)
          • Sacramento County (ICX, ICC, ADJ 2018)
          • Contra Costa County (ICX, ICC, ADJ 2018)


       The State of Colorado
          • Adams County (ICX, ICC, ADJ, 2016)
          • Arapahoe County (ICX, ICC, ADJ, 2016)
          • Chaffee County (ICX, ICC, ADJ, 2016)
          • Gilpin County (ICX, ICC, ADJ, 2016)
          • Gunnison County (ICX, ICC, ADJ, 2016)
          • City and County of Denver (ICX, ICC, ADJ, 2016)
          • Mesa County (ICX, ICC, ADJ, 2016)
          • Moffat County (ICX, ICC, ADJ, 2016)
          • Baca County (ICX, ICC, ADJ, 2016)
          • Broomfield County (ICX, ICC, ADJ, 2016)
          • Clear Creek County (ICX, ICC, ADJ, 2016)
          • Eagle County (ICX, ICC, ADJ, 2016)
          • Logan County (ICX, ICC, ADJ, 2016)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                            Page 68 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 139 of 170




           •   Pitkin County (ICX, ICC, ADJ, 2016)
           •   Teller County (ICX, ICC, ADJ, 2016)
           •   Park County (ICX, ICC, ADJ, 2016)
           •   Pueblo County (ICX, ICC, ADJ, 2016)
           •   Sedgwick County (ICX, ICC, ADJ, 2016)
           •   Washington County (ICX, ICC, ADJ, 2016)
           •   Alamosa County (ICX, ICC, ADJ, 2017)
           •   Archuleta County (ICX, ICC, ADJ, 2017)
           •   Bent County (ICX, ICC, ADJ, 2017)
           •   Boulder County (ICX, ICC, ADJ, 2017)
           •   Conejos County (ICX, ICC, ADJ, 2017)
           •   Cheyenne County (ICX, ICC, ADJ, 2017)
           •   Crowley County (ICX, ICC, ADJ, 2017)
           •   Costilla County (ICX, ICC, ADJ, 2017)
           •   Delta County (ICX, ICC, ADJ, 2017)
           •   Dolores County (ICX, ICC, ADJ, 2017)
           •   Elbert County(ICX, ICC, ADJ, 2017)
           •   El Paso County (ICX, ICC, ADJ, 2017)
           •   Fremont County (ICX, ICC, ADJ, 2017)
           •   Grand County (ICX, ICC, ADJ, 2017)
           •   Huerfano County (ICX, ICC, ADJ, 2017)
           •   Jefferson County (ICX, ICC, ADJ, 2017)
           •   Kiowa County (ICX, ICC, ADJ, 2017)
           •   Kit Carson County (ICX, ICC, ADJ, 2017)
           •   Lake County (ICX, ICC, ADJ, 2017)
           •   La Plata County (ICX, ICC, ADJ, 2017)
           •   Las Animas County (ICX, ICC, ADJ, 2017)
           •   Lincoln County (ICX, ICC, ADJ, 2017)
           •   Otero County (ICX, ICC, ADJ, 2017)
           •   Ouray County (ICX, ICC, ADJ, 2017)
           •   Moffat County (ICX, ICC, ADJ, 2017)
           •   Montezuma County (ICX, ICC, ADJ, 2017)
           •   Montrose County (ICX, ICC, ADJ, 2018)
           •   Morgan County (ICX, ICC, ADJ, 2017)
           •   Phillips County (ICX, ICC, ADJ, 2017)
           •   Prowers County (ICX, ICC, ADJ, 2017)
           •   Rio Grande County (ICX, ICC, ADJ, 2017)
           •   Routt County (ICX, ICC, ADJ, 2017)
           •   San Miguel County (ICX, ICC, ADJ, 2017)
           •   Summit County (ICX, ICC, ADJ, 2017)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 69 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 140 of 170




           •   Yuma County (ICX, ICC, ADJ, 2017)

       The State of Florida
          • Alachua County (ICE, ICC, 2015)
          • Baker County (ICE, 2013)
          • Columbia County (ICE-DD, ICC, 2017)
          • Jefferson County (ICE, 2018)
          • Hardee County (ICE, 2013)
          • Hernando (ICE-DD, ICC, MBP, 2015)
          • Leon County (ICE, ICC, 2014)
          • Levy County (ICE, 2014)
          • Madison County (ICE, 2013)
          • Monroe County (ICE, 2013)
          • Okeechobee County (ICE, 2016)
          • St Lucie County (ICE, ICC, 2014)
          • Dixie County (ICE, 2018)
          • DeSoto County (ICE, 2018)
          • Gilchrist County (ICE-DD, 2018)
          • Taylor County (ICE, 2017)

       The State of Iowa
          • Adair County (ICP-BMD, 2015)
          • Appanoose County (ICP-BMD, 2016)
          • Bremer County (ICP-BMD, 2016)
          • Cedar County (ICP BMD, 2013)
          • Hardin County (ICP-BMD, ICC, 2015)
          • Lucas County (ICP-BMD, 2016)
          • Mitchell County (ICP-BMD, 2015)
          • Wayne County (ICP-BMD, 2016)
          • Dickinson County (ICP, ICC, 2017)

       The State of Kansas
           •   Lane County (ICP-BMD Audio, 2015)
           •   Reno County (ICP, ICX, 2017)
           •   Thomas County (ICP, ICX, ICC, 2017)

       The State of Louisiana
           •   All 64 parishes (ICC, 2011)

       The Commonwealth of Massachusetts



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 70 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 141 of 170



       (services provided by LHS Associates)
           •   Agawam (ICP, 2016)
           •   Amesbury (ICP, 2017)
           •   Andover (ICP, 2017)
           •   Ashland (ICP, 2016)
           •   Athol (ICP, 2017)
           •   Attleboro (ICP, 2016)
           •   Auburn (2016)
           •   Belchertown (ICP, 2017)
           •   Bellingham (ICP, 2016)
           •   Beverly (ICP, 2017)
           •   Blackstone (ICP, 2016)
           •   Boxford (ICP, 2016)
           •   Brimfield (ICP, 2016)
           •   Brockton (ICP, 2016)
           •   Cheshire (ICP, 2016)
           •   Clinton (ICP, 2015)
           •   Cohasset (ICP, 2016)
           •   Dartmouth (ICP, 2017)
           •   Dedham (ICP, 2016)
           •   Dover (ICP, 2017)
           •   Dracut (ICP, 2017)
           •   Duxbury (ICP, 2016)
           •   East Bridgewater (ICP, 2017)
           •   Eastham (ICP, 2014)
           •   Easton (ICP, 2016)
           •   Falmouth (ICP, 2016)
           •   Fitchburg (ICP, 2015)
           •   Georgetown (ICP, 2017)
           •   Granby (ICP, 2016)
           •   Great Barrington (ICP, 2016)
           •   Groton (ICP, 2016)
           •   Holden (ICP, 2017)
           •   Holliston (ICP, 2016)
           •   Hudson (ICP, 2014)
           •   Leominster (ICP, 2015)
           •   Longmeadow (ICP, 2016)
           •   Lynnfield (ICP, 2016)
           •   Manchester-by-the-Sea (ICP, 2017)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 71 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 142 of 170




           •   Mansfield (ICP, 2014)
           •   Methuen (ICP, 2017)
           •   Middleborough (ICP, 2016)
           •   Monson (ICP, 2017)
           •   Needham (ICP, 2015)
           •   Newbury (ICP, 2015)
           •   North Andover (ICP, 2017)
           •   Northfield (ICP, 2016)
           •   Norton (ICP, 2016)
           •   Orange (ICP, 2016)
           •   Pembroke (ICP, 2017)
           •   Pepperell (ICP, 2017)
           •   Plainville (ICP, 2014)
           •   Plymouth (ICP, 2017)
           •   Quincy (ICP, 2016)
           •   Reading (ICP, 2016)
           •   Rockport (ICP, 2015)
           •   Rutland (ICP, 2017)
           •   Sherborn (ICP, 2014)
           •   Shirley (ICP, 2015)
           •   South Hadley (ICP, 2015)
           •   Southborough (ICP, 2017)
           •   Uxbridge (ICP, 2016)
           •   Wales (ICP, 2016)
           •   Walpole (ICP, 2016)
           •   Wareham (ICP, 2016)
           •   Wellesley (ICP, 2016)
           •   Wenham (ICP, 2016)
           •   West Boylston (ICP, 2016)
           •   Westminster (ICP, 2016)
           •   Weston (ICP, 2015)
           •   Westwood (ICP, 2016)
           •   Winchendon (ICP, 2016)
           •   Winchester (ICP, 2016)
           •   Winthrop (ICP, 2017)

       The State of Michigan
          • Alger County (ICP, ICX-BMD, 2017)
          • Allegan County (ICP, ICX-BMD, 2018)
          • Antrim County (ICP, ICX-BMD, 2018)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 72 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 143 of 170




           •   Baraga County (ICP, ICX-BMD, 2018)
           •   Barry County (ICP, ICX-BMD, 2018)
           •   Benzie County (ICP, ICX-BMD, 2018)
           •   Berrien County (ICP, ICX-BMD, 2017)
           •   Branch County (ICP, ICX-BMD, 2017)
           •   Calhoun County (ICP, ICX-BMD, 2017)
           •   Cass County (ICP, ICX-BMD, 2017)
           •   Charlevoix County (ICP, ICX-BMD, 2017)
           •   Chippewa County (ICP, ICX-BMD, 2018)
           •   Clare County (ICP, ICX-BMD, 2017)
           •   Crawford County (ICP, ICX-BMD, 2018)
           •   Delta (ICP, ICX-BMD, 2017)
           •   Dickinson County (ICP, ICX-BMD, 2018)
           •   Gladwin County (ICP, ICX-BMD, 2017)
           •   Gogebic County (ICP, ICX-BMD, 2018)
           •   Gratiot County (ICP, ICX-BMD, 2017)
           •   Houghton County (ICP, ICX-BMD, 2017)
           •   Huron County (ICP, ICX-BMD, 2017)
           •   Ingham County (ICP, ICX-BMD, 2017)
           •   Iosco County (ICP, ICX-BMD, 2017)
           •   Iron County (ICP, ICX-BMD, 2018)
           •   Isabella County (ICP, ICX-BMD, 2017)
           •   Jackson County (ICP, ICX-BMD, 2017)
           •   Kalkaska County (ICP, ICX-BMD, 2017)
           •   Kent County (ICP, ICX-BMD, 2017)
           •   Keweenaw County (ICP, ICX-BMD, 2018)
           •   Lake County (ICP, ICX-BMD, 2018)
           •   Lapeer County (ICP, ICX-BMD, 2017)
           •   Leelanau County (ICP, ICX-BMD, 2018)
           •   Lenawee County (ICP, ICX-BMD, 2017)
           •   Luce County (ICP, ICX-BMD, 2017)
           •   Mackinac County (ICP, ICX-BMD, 2017)
           •   Manistee County (ICP, ICX-BMD, 2017)
           •   Marquette County (ICP, ICX-BMD, 2017)
           •   Mescota County (ICP, ICX-BMD, 2017)
           •   Menominee County (ICP, ICX-BMD, 2017)
           •   Midland County (ICP, ICX-BMD, 2018)
           •   Missaukee County (ICP, ICX-BMD, 2017)
           •   Monroe County (ICP, ICX-BMD, 2017)
           •   Montmorency (ICP, ICX-BMD, 2018)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 73 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 144 of 170




           •   Newaygo County (ICP, ICX-BMD, 2017)
           •   Oceana County (ICP, ICX-BMD, 2018)
           •   Ogemaw County (ICP, ICX-BMD, 2018)
           •   Ontonagon County (ICP, ICX-BMD, 2018)
           •   Osceola County (ICP, ICX-BMD, 2018)
           •   Oscoda County (ICP, ICX-BMD, 2018)
           •   Otsego (ICP, ICX-BMD, 2017)
           •   Presque Isle (ICP, ICX-BMD, 2018)
           •   Saginaw County (ICP, ICX-BMD, 2018)
           •   Sanilac County (ICP, ICX-BMD, 2017)
           •   Schoolcraft County (ICP, ICX-BMD, 2017)
           •   Shiawassee County (ICP, ICX-BMD, 2017)
           •   St. Clair County (ICP, ICX-BMD, 2017)
           •   St. Joseph County (ICP, ICX-BMD, 2017)
           •   Tuscola County (ICP, ICX-BMD, 2017)
           •   Van Buren County (ICP, ICX-BMD, 2017)
           •   Wayne County (ICP, ICX-BMD, 2017)
           •   Wexford County (ICP, ICX-BMD, 2018)

       The State of Minnesota
          • Dakota County (ICE, ICC, 2015)
          • Scott County (ICE, ICC, 2015)
          • Sherburne County (ICE, ICC, 2016)

       The State of Missouri
          • Adair County (ICP-BMD, 2015)
          • Callaway County (ICP-BMD, 2015)
          • Carroll County (ICP-BMD, 2015)
          • Crawford County (ICP-BMD, 2015)
          • Gasconade County (ICP-BMD, 2015)
          • Grundy County (ICP-BMD, 2015)
          • Harrison County (ICP-BMD, 2016)
          • Jasper County (ICP-BMD, 2015)
          • Livingston County (ICP- BMD, 2015)
          • Lafayette County (ICP-BMD, 2015)
          • Maries County (ICP-BMD, 2015)
          • Mercer County (ICP-BMD, 2015)
          • McDonald County (ICP-BMD, 2014)
          • Montgomery County (ICP-BMD, 2016)
          • Newton County(ICP-BMD, 2015)



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 74 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 145 of 170




           •   Nodaway County (ICP-BMD, 2015)
           •   Osage County (ICP-BMD, 2015)
           •   Pike County (ICP- BMD, 2015)
           •   Saline County (ICP-BMD, 2015)
           •   Warren County (ICP-BMD, 2014)
           •   Butler County (ICP-BMD, 2017)

       The State of Nevada
          • Churchill County (ICX with VVPAT, ICC, ADJ, 2018)
          • Clark County (ICX with VVPAT, ICC, ADJ, 2017)
          • Douglas County (ICX with VVPAT, ICC, ADJ, 2018)
          • Elko County (ICX with VVPAT, ICC, ADJ, 2018)
          • Esmerelda County (ICX with VVPAT, ICC, ADJ, 2018)
          • Eureka County (ICX with VVPAT, ICC, ADJ, 2018)
          • Humboldt County (ICX with VVPAT, ICC, ADJ, 2018)
          • Lander County (ICX with VVPAT, ICC, ADJ, 2018)
          • Lincoln County (ICX with VVPAT, ICC, ADJ, 2018)
          • Lyon County (ICX with VVPAT, ICC, ADJ, 2018)
          • Mineral County (ICX with VVPAT, ICC, ADJ, 2018)
          • Nye County (ICX with VVPAT, ICC, ADJ, 2018)
          • Pershing County (ICX with VVPAT, ICC, ADJ, 2018)
          • Story County (ICX with VVPAT, ICC, ADJ, 2018)
          • Washoe County (ICX with VVPAT, ICC, ADJ, 2017)
          • White Pine County (ICX with VVPAT, ICC, ADJ, 2018)

       The State of New Jersey
           •   Burlington County (ICC, 2014)
           •   Camden County (ICC, 2013)
           •   Cape May County (ICC, 2013)
           •   Cumberland County (ICC, 2015)
           •   Essex County (ICC, 2013)
           •   Gloucester County (ICC, 2015)
           •   Hudson County (ICC, 2013)
           •   Hunterdon County (ICC, 2015)
           •   Mercer County (ICC 2013)
           •   Monmouth County (ICC, 2014)
           •   Morris County (ICC, 2015)
           •   Passaic County (ICC, 2015)
           •   Salem County (ICC, 2015)


State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 75 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 146 of 170




           •   Union County (ICC, 2013)

       All 33 counties in the State of New Mexico
       (ICC, ICE, ICP-BMD, ICP, 2014)

       52 Counties in the State of New York
       (all except Albany, Erie, Nassau, Rockland, Schenectady and the five boroughs of New
       York City) (ICP, ICP-BMDICC, 2008)

       The State of Ohio
           •   Belmont County (ICP-A, ICC, 2015)
           •   Guernsey County (ICE, ICC, 2013)
           •   Harrison County (ICP, ICE, ICC, 2014)
           •   Huron County (ICC, ICE, ICP-A, MBP, 2015)
           •   Muskingum County (ICP, ICE, ICC, ADJ, 2017)

       The State of Tennessee
           •   Hamilton County (ICE, ICP-A, ICC, 2013)

       The Commonwealth of Virginia
           •   Amelia County (ICE, 2016)
           •   Bedford County (ICE, 2015)
           •   Buchanan County (ICE, 2015)
           •   Craig County (ICE, 2015)
           •   Caroline County (ICP-BMD, 2015)
           •   Dickenson County (ICE, 215)
           •   Franklin County (ICE, 2015)
           •   King George County (ICP-BMD, 2014)
           •   Lee County (ICE, 2015)
           •   Buena Vista City (ICE, 2017)
           •   Sussex County (ICE, 2017)
           •   Smyth County (ICE, 2017)
           •   Greensville County (ICE, 2017)
           •   Louisa County (ICE, 2015)
           •   Mecklenburg County (ICE, 2015)
           •   Nottoway County (ICE, 2015)
           •   Page County (ICP- BMD, 2016)
           •   Radford City (ICE, 2016)




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                        Page 76 of 77
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 147 of 170




           •   Russell County (ICE, 2015)
           •   Salem City (ICE, 2016)
           •   Suffolk City (ICE, 2015)
           •   Waynesboro City (ICE, 2016)

       The State of Washington
           •   Franklin County (ICX, ICC, AADJ, 2017)

       The State of Wisconsin
          • Door County (ICE, 2015)
          • Fond du Lac County (ICE, 2016)
          • Green County (ICE, 2015)
          • Ozaukee County (ICE, 2016)
          • Vilas County (ICE, 2016)
          • Washington County (ICE, 2016)
          • Winnebago County (ICE, 2015)

       The Commonwealth of Puerto Rico
       (ICP, 2016)




State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                   Page 77 of 77
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 148 of 170




                                                                      E
                                                                      X
                                                                      H
                                                                       I
                                                                      B
                                                                       I
                                                                      T


                                                                      D
      Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 149 of 170




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                                 )
DONNA CURLING, et al.                            )
                                                 )
Plaintiff,                                       )
                                                 )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                              )   2989-AT
                                                 )
BRIAN P. KEMP, et al.                            )
                                                 )
Defendant.                                       )
                                                 )
                                                 )

                    DECLARATION OF MEGAN MISSETT

       MEGAN MISSETT hereby declares as follows:

  1. I have personal knowledge of all facts stated in this declaration, and if called

       to testify, I could and would testify competently thereto.

  2. I am a Georgia voter, registered to vote at my residence at



  3. I am a member of the Coalition for Good Governance.

  4. I will vote in the March 24, 2020 primary election, and all other elections in

       the jurisdictions in which I am eligible to vote. For many years I have been

       an active and frequent Fulton County voter and volunteer hundreds of hours

       a year to encourage others to vote.

  5. I have not yet decided how I will vote if ballot marking devices with

       barcodes are installed in Fulton County. I am torn and frustrated about this

                                             1
 Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 150 of 170




   dilemma because the two choices the State permits do not support secure

   verifiable ballots that can be cast on election day in my polling place.

6. I prefer to vote on Election Day at my neighborhood precinct with my

   friends and participate with my neighbors in the community exercise of

   voting, and also with the Election Day benefit of having the latest news and

   information on questions and candidates on the ballot.

7. I greatly value the experience of voting on Election Day in my neighborhood

   as a shared civic experience, however, Georgia continues to make this a

   more difficult choice to make if I want to ensure that I will be permitted to

   vote without obstacles created by erroneous pollbooks, to cast a vote that I

   can read and verify, and vote an absolutely secret ballot.

8. The most important decision for me in the method and time of voting is to

   cast a secure ballot that I know reflects my choices. But Fulton County does

   not permit hand marked paper ballot voting in the polling place on Election

   Day or in in-person early voting, and plans to only use unreliable, insecure

   Ballot Marking Device voting in the polling places. The BMDs would print

   my vote in an encoded barcode which I cannot read and so I cannot verify

   that my ballot reflects my choices.

9. I am aware that there were systemic problems with the electronic pollbooks

   during the November 2018 general elections and many prior elections,


                                         2
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 151 of 170




   which resulted in authorized voters being turned away from their correct

   polling place; sent to wrong polling places; denied access to voting; or being

   forced to vote provisionally. I have attended meetings with Georgia election

   officials about their plans to migrate to a new electronic pollbook system

   and am deeply concerned by the apparent lack of planning that would be

   required to fix these systemic problems.

10.I am also aware that the new optical ballot scanners that will be used next

   year may have been designed in a way that would allow in-person scanned

   votes to be tied back to the individual voter, thus thwarting the secret ballot.

11.To ensure that I can verify my vote; avoid the risk that electronic pollbook

   errors keep me from voting; and keep my ballot secret, I am unhappily

   considering the choice to vote several days prior to Election Day by mail

   ballot, foregoing the benefits of voting on Election Day. I will make my

   decision closer to election day after more information is available on the

   security of the voting system including the pollbooks in Fulton County

12.If I choose to vote by mail, to be certain that my mail ballot vote will be

   counted, I must mail or deliver my mail ballot well before each election to

   ensure that it is accepted in time for me to remedy possible delivery failure

   or any deficiencies in signature match or oath information details.




                                       3
  Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 152 of 170




13.I do not like accepting this disadvantage in casting my ballot before Election

   Day, but unless Fulton County is forced to adopt hand marked paper ballots,

   such a voting disadvantage as the only reasonable alternative that allows me

   to verify my vote so that it can be properly counted and audited.

                                             950 hundred hours to voting
14. This year I have dedicated approximately _____

   rights, voter registration and candidates’ campaign activities. I will be

   spending hundreds more hours between now and the March 24 primaries

   talking with voters, encouraging them to vote. I have mixed feelings about

   recommending that all voters cast mail ballots, but that is my current

   recommendation, given that it is the only manner of voting in Fulton County

   that allows me to verify my selections before I cast my vote.

15. In the many conversations I have had with potential voters in the last few

   weeks, it is clear that many voters are well aware of the problems with

   BMDs, the systemic problems of the electronic pollbooks, and the State’s

   slow and non-transparent efforts to fix them. Voters have expressed to me

   that they question whether it is worth voting.

16.I recognize that encouraging voters to vote a paper mail ballot at least

   creates a paper trail if there is a contested election, but does little to improve

   election security without a thorough audit of the optical scan units and

   tabulation server. I believe that mail ballot voting is a more secure method of


                                        4
     Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 153 of 170




      voting that may be beneficial if post-election reviews take place, although

      the risk of mail ballot loss and rejection are unacceptable as well.

   17.Dana Bowers shared with me a document and information concerning the

      high number of mail ballot rejections that was referenced in her Second

      Declaration in this case. (Doc. 277 p.47 ¶ 8-10.) I am concerned about

      recommending mail ballots as a safe voting method with the unfair rules that

      Georgia uses to issue and accept mail ballots.

   18.If I choose to go to the unwanted effort and inconvenience to cast a mail

      ballot, I will do so early enough to cure any problems and follow the ballots

      progress on the SOS website, and I will encourage other voters to do the

      same, urging them to do so cautiously, understanding the risks against the

      benefits of casting a paper ballot that can be reviewed and recounted.

   19. As I stated in my declaration of May 21, 2019 (Doc. 413. Decl. Missett ¶ 6

      – 10), the absolute secrecy of my ballot is important to me, and I hesitate to

      vote a ballot that can be traced to me. It is my understanding that the

      Dominion ImageCast scanner creates an electronic record of the time and

      order of the ballot cast by in person voters in the polling place.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the

foregoing is true and correct.


                                          5
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 154 of 170




 Executed on this date, October 20
                                __, 2019


                         _____________________________
                         Megan Missett




                                  6
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 155 of 170




                                                                      E
                                                                      X
                                                                      H
                                                                       I
                                                                      B
                                                                       I
                                                                      T


                                                                      E
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 156 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 157 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 158 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 159 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 160 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 161 of 170




                                                                      E
                                                                      X
                                                                      H
                                                                       I
                                                                      B
                                                                       I
                                                                      T


                                                                      F
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 162 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 163 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 164 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 165 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 166 of 170




                                                                      E
                                                                      X
                                                                      H
                                                                       I
                                                                      B
                                                                       I
                                                                      T


                                                                      G
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 167 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 168 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 169 of 170
Case 1:17-cv-02989-AT Document 640-1 Filed 10/23/19 Page 170 of 170
